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                               UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

RONALD JEFFREY PRIBLE,                                          §
                                                                §        PETITIONER’S EXHIBIT LIST
         Petitioner,                                            §
                                                                §
V.                                                              §        4:09-cv-01896
                                                                §
LORI DAVIS, DIRECTOR,                                           §
TEXAS DEPARTMENT OF CRIMINAL                                    §
JUSTICE, INSTITUTIONAL DIVISION,                                §
                                                                §
         Respondent.                                            §

                    PETITIONER’S POST-EVIDENTIARY HEARING BRIEF

TO THE HONORABLE KEITH ELLISON, UNITED STATES DISTRICT JUDGE:

         Petitioner Ronald Jeffrey Prible (“Prible” or “Petitioner”) files this Post-Evidentiary

Hearing Brief and would respectfully show the Court as follows:

                                                        I.
                                                   Introduction

         On April 29, April 30, and May 2, 2019, the Court held an evidentiary hearing in this

case, which afforded it the opportunity to make credibility determinations with respect to various

critical witnesses involved in Petitioner’s habeas claims. Petitioner presented seven witnesses:

Nathan Foreman, Carl Walker, Jr., Johnny Bonds, Vic Wisner, Michael Beckcom, Kelly Siegler,

and Terry Gaiser. 1 This brief points out the important testimony of each witness, argues why the

witness should or should not be believed, and explains how the testimony supports Petitioner’s

habeas claims.
1
  Some of these witnesses – Bonds, Wisner, Beckcom, and Siegler – were presented by deposition. The exhibit
numbers at their depositions differed from the exhibit numbers listed on Petitioner’s Exhibit List submitted with the
Joint Pretrial Order (Dkt. 222-A). For the Court’s reference, Petitioner has attached an appendix comparing the
deposition exhibit numbers (i.e., those that appear on the evidentiary hearing transcript) to the exhibit numbers listed
in Petitioner’s Exhibit List submitted with the Joint Pretrial Order. All exhibit references herein are to the Joint
Pretrial Order.


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                                               II.
                          Factual Development at the Evidentiary Hearing

        A.       Nathan Foreman

        At the hearing, Foreman credibly testified that he learned about Prible’s case from Jesse

Moreno, who had spoken with Siegler about it. He also recalled his communications with

Siegler and Bonds leading up to Prible’s trial, including Siegler’s disclosure to him that Prible’s

DNA had been found in the victim’s mouth. He credibly sketched out a conspiracy among

several inmates, which was known to if not choreographed by Siegler, to provide incriminating

testimony against Prible in exchange for sentence reductions.                     Foreman’s testimony was

consistent with the two affidavits that he signed in January 2016 (Exhibits 87 and 123), and was

corroborated by the testimony of Carl Walker, the affidavits of Oscar Gonzalez (Exhibit 88) and

Gordon Harpe (Exhibit 73), Siegler’s and Bonds’ work product notes (Exhibits 19 and 20), and

the letters from the various non-testifying informants to Siegler (Exhibits 35-37).

                 1.       Foreman credibly testified that he was recruited to act as an
                          informant in Prible’s case by Jesse Moreno, who had discussed the
                          case with Siegler.

        At the hearing, Foreman testified that he lived in FCI Beaumont’s Special Housing Unit

(the “SHU”) for a little over a year beginning in mid-2000.2 See Ev. Hrg. Tr. Vol. 1 at 35-36.

He explained that inmates in the SHU are separated from the general population, but it is not the

same as solitary confinement. Id. at 37. Inmates in the SHU have cellmates. Id.3 And Foreman

was an orderly in the SHU, so he was able to move around from cell to cell and talk with other

inmates beyond just his SHU cellmates. Id. 4



2
  This is corroborated by Foreman’s BOP housing and transfer records (Exhibit 18).
3
  This is corroborated by the BOP SHU regulations guidelines (Exhibit 134).
4
  This is corroborated by Siegler’s notes from her August 8, 2001 interview of Nathan Foreman: “I: trusty – 6 ½
months.” See Exhibit 19.

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         Foreman said that he was in the SHU at the same time as Jesse Moreno. Id. at 38.

Foreman and Moreno had known in each other in the free world; they grew up in the same

neighborhood.         Id.   Foreman testified that while they were in the SHU together, Moreno

“brought something to my attention about a time cut” if they testified against another inmate, Jeff

Prible. Id. at 39. Foreman said that Moreno already knew facts about Prible and his case. Id. at

39.5 Moreno told Foreman to get in contact with Kelly Siegler. Id. at 39. At the time, Foreman

did not know who Siegler was; later, he learned that she was a prosecutor out of Houston. Id. at

39-40.

         Foreman got out of the SHU sometime in the summer of 2001 and went to FCI Beaumont

Medium. There, he ran into Prible on the compound. Id. at 41. Foreman explained that he and

Prible were housed in different units within the Medium, so they could not meet with each other

in their cells. Id. at 42. But they could and did see each other on the yard. Id. at 41-43.

Foreman could not recall his first encounter with Prible on the yard, but he did remember that

before he met Prible, he already knew something about his case, from Moreno. Id. at 42-43.

And he was already interested in getting a time cut in exchange for providing the government

with information on Prible. Id. at 43. Foreman testified that he acted on Moreno’s suggestion

and contacted Siegler. Id.

                 2.         Foreman explained to the Court how the informants were able to
                            covertly communicate with the prosecutor.

         Foreman recalled meeting with Siegler at the Federal Detention Center in Houston to

discuss the Prible case. Id. at 44. He testified that he and “[a]ll the inmates that were []

supposably (sic) involved in this case” were able to also contact Siegler by telephone. Id. The

other inmates were Moreno, Michael Beckcom, and Rafael “Cat” Dominguez.                              Id. at 45.

5
  Again, this is corroborated by Siegler’s notes from the August 8, 2001 interview: “Jessie & me at B Medium
together.” See Exhibit 19.

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Foreman testified that he had a clear recollection of these other inmates contacting Siegler by

telephone. Id. at 45. When asked how this could be done, Foreman explained that “the unit

manager would allow us to use his phone.” Id.6 Foreman remembered that the unit manager was

named “Harpe.” Id. at 46. Foreman said that Siegler was also able to contact the inmates by

calling Mr. Harpe’s phone.7 Id.

                  3.       Foreman credibly testified that he, Beckcom, and the other
                           informants aimed to get time cuts by “lying on” Prible, and that
                           Siegler helped the scheme along by providing the informants with
                           sensitive case information – i.e., that Prible’s DNA had been found in
                           the victim’s mouth.

         Foreman eventually became Michael Beckcom’s cellmate. Id. Foreman said that he and

Beckcom would meet with Prible quite regularly, “every day sometimes,” on the rec yard. Id. at

47. Sometimes it would just be him and Beckcom meeting with Prible, other times there would

be other inmates present.          Id. at 47.     Foreman was shown one of the prison photographs

contained in Exhibit 32 and was able to identify himself, Carl Walker, Eddie Gomez, Beckcom,

Dominguez, Oscar Gonzalez, and Mark Martinez as the inmates surrounding Mr. Prible. Id. at

49. Foreman recalled that all of these inmates were interested in getting time cuts “[b]y rolling

over on Jeff” – in other words, by “lying on him.” Id. at 49. The purpose of the photograph was

“[t]o show that we all were affiliated with each other.” Id.

         Foreman testified that he relayed the information that he already had about Prible’s case

to Beckcom. Id. at 54. He had gotten that information “from Jesse Moreno and Kelly Siegler.”

Id. Foreman specifically remembered Siegler telling him about the DNA evidence in the case:

         Q (by Mr. Rytting): Did you know anything about the DNA or semen in this
            case?


6
 This is corroborated by Harpe’s declaration (Exhibit 73).
7
 This is corroborated by Harpe’s affidavit (Exhibit 73), Siegler’s testimony (Ev. Hrg. Tr. Vol. 2 at 97), and
Beckcom’s testimony (Ev. Hrg. Tr. Vol. 1 at 214).

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       A. Other than what Kelly Siegler told me.

       Q. And what did she tell you?

       A. . . . [S]he asked me about him, and I said, ‘Well, you know’ – ‘you know, him
          and the girl were dating or had a relationship. That’s all he had ever said, you
          know. . . . [A]nd she said, ‘Well, did he tell you that his semen was found in
          her mouth?’”

Id. at 55-56.

                4.    Foreman unequivocally denied the truth of the confession story
                      contained in Beckcom’s elaborate handwritten statement.

       At the hearing, Foreman was taken through Beckcom’s lengthy handwritten statement

describing Prible’s supposed “confession” to Beckcom and Foreman, and unequivocally denied

the truth of Beckcom’s elaborate tale. Foreman denied hearing Prible say that “he knows things

that nobody knows,” that “[y]our deepest, darkest reaches of your worst nightmare doesn’t come

close to me,” that “he loved [Beckcom and Foreman] as brothers” and had “told [them] things

that only he and God know.” Id. at 59-61. Foreman never heard Prible say that he was in

Special Ops and had carried out secret missions in which he had killed other people for the

government. Id. at 67. Nor did Foreman hear Prible say that he was a “ghost” and was able to

get in and out of the crime scene without being heard using “a high-intensity, low-drag

maneuver.” Id. at 64, 76. Foreman testified that Beckcom “most definitely” made up the part in

the letter about Prible telling them that “I’ve gone to other countries and maimed, killed and

mutilated people to look like some other cartel had done it. I did this for my country. Things

we’re not supposed to know about.” Id. at 68. Most importantly, Foreman said he never heard

Prible confess to the murders, as Beckcom claimed he had:

       Q. [D]o you recall Mr. Prible ever saying that he shot the victims in this case?

       A. No, I don’t.

       Q. Was that something that you would remember?

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        A. Yes.

        Q. Why?

        A. Because that – I would have said it then.

        Q. You would have informed on him then?

        A. I would have informed on that.

Id. at 63. Foreman testified that he would have remembered if Prible had told him and Beckcom

that “[a]nybody that can go in a house, take out a whole family and get out clean, is a bad

motherfucker. I’m that kind of motherfucker,” id. at 66, because he was interested at the time in

testifying against Prible. “If this gentleman would have said anything as to what I’m being told

he said,” Foreman stated, “I would remember that.” Id. at 67.

        Foreman testified that during the time period that he and Beckcom were speaking to

Prible, he was interested in getting a time cut, and was on high alert to any sort of confession

Prible might make. Id. at 60-61. But he insisted, without equivocating, that he didn’t hear Prible

confess. According to Foreman, Beckcom’s dramatic tale simply was not true. Id. at 64. “. . .

[A]ll I could say is that [Beckcom] should have been a book writer or something,” Foreman

testified. Id. “It[] really sounds like he got it off television.” Id. at 76.

        Foreman explained that inmates would not normally discuss the crimes that they were

accused of unless it was a crime that didn’t amount to anything. Id. at 65. This is because

prisoners are always looking for a way to get their sentences reduced. Id. at 64. And an inmate

who confessed to killing three children might end up facing a violent end. Id. at 66.

        Foreman told the Court that the purpose of taking the photograph with Beckcom, Prible,

and their mothers was to “[s]how we was all affiliated with each other.” Id. at 69. Foreman

testified that Beckcom’s story about what happened right after that photo was taken – the

dramatic confession by Prible on the prison yard – was “made up.” Id. at 70 (“Q. . . . [D]id your

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. . . cellmate, Mr. Beckcom, make this up, to the best of your knowledge? A. It – it’s – I know

it’s made up.”). Foreman confirmed that he and the other inmates gave Prible wine on the yard

to loosen him up and “try[] to get him to confess.” Id. at 71.8 Oscar Gonzalez was the

winemaker. Id. at 72. Foreman remembered having to escort Prible back to his unit because he

was so drunk. Id. But despite his high level of intoxication, Prible still never confessed. Id. at

72.

        Foreman stated that Prible spoke of Steve Herrera as if they were friends. Id. Prible

never said that Steve was his enemy in any sense, notwithstanding Beckcom’s statement that

Prible and Steve were fighting over money and Prible feared that Steve would kill him. Id. at 73.

As far as talking about his case, Foreman just remembered Prible saying that “they were trying to

accuse him for something that he didn’t do.”             Id. at 51. “[T]hat’s as far as it went.” Id.

Foreman did not end up testifying against Prible, but admitted that he had been willing to do so.

Id. at 49-50.

                5.      Foreman held up under cross-examination, insisting that he never
                        heard Prible confess.

        Under cross, Foreman stuck to his story. He testified that Moreno knew about Prible and

the crime that he was accused of, and that he and Moreno started talking about Prible’s case

while they were in the SHU together. Id. at 79. He could not remember how many times he met

with Siegler in person, but remembered one meeting specifically: the one at FDC Houston. Id.

at 79-80. He testified that whenever Prible talked about his case, it was only to say that “he was

being accused of something that he didn’t do. That’s it.” Id. at 84. He admitted that he was

interested in informing on Prible, and that he asked his attorney to contact Siegler to see if he

could get a time cut. Id. at 86-87. The only information he had at that time to offer Siegler was

8
  This is also corroborated by Walker’s evidentiary hearing testimony and by the affidavit of Oscar Gonzalez
(Exhibit 88).

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“[T]hat [Prible] dated – that he used to mess around with the girl, and he and the guy were good

friends. . . . That’s the best I could do.” Id. at 87.

        B.      Carl Walker, Jr.

        Carl Walker was previously an inmate at FCI Beaumont. He was released from the

federal prison system in December 2015. Ev. Hrg. Tr. Vol. 1 at 92. He testified that he now

owns a cell phone, tablet, and computer repair company with four employees. Id. at 90-91. He

goes to businesses and customers’ homes to do on-site repairs and consulting and also teaches

people how to be technicians. Id. at 92. Walker credibly painted a picture of a well-planned

conspiracy by numerous FCI Beaumont inmates, orchestrated by Kelly Siegler, to frame both

Prible and Hermilo Herrero in exchange for time cuts. He admitted that he actively participated

in the conspiracy.     His testimony was consistent with his 2010 transcribed interview with

Petitioner’s counsel (Exhibit 55), the testimony of Nathan Foreman, Foreman’s two affidavits

(Exhibits 87 and 123), the affidavits of Oscar Gonzalez (Ex. 88) and Gordon Harpe (Ex. 73),

and the inmate photographs (Exhibit 32) and letters to Siegler (Exhibits 35-37).

                1.      Walker’s testimony supports the theory that the conspiracy to frame
                        Prible was set in motion before Prible even arrived at FCI Medium.

        Walker testified that he arrived at FCI Beaumont around the summer of 2000. Id. at 92.

He had been convicted of conspiracy to possess with intent to distribute crack cocaine and

possession with intent to distribute crack cocaine. Id. When he got to prison, he was only 26 or

27 years old. Id. at 93. He was sentenced to 360 months, which meant that when he got out, he

would have been incarcerated for about half of his life. Id. He said that when he first got to

prison, he was “frightened, nervous, terrified, depressed . . . it was just a lot at that age.” Id. at




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93. Walker was housed in the same pod in Beaumont Medium as Beckcom, Foreman, and Oscar

and Felix Gonzalez. Id. at 104.9

        Walker first heard of Prible in 2001 when he was in Beaumont Medium. Id. He “learned

that [Prible] was coming over from the low facility, and he was under investigation for several

murders.” Id. at 94. He was “approached or recruited” by some acquaintances in the prison

chapel, who asked him if he wanted a “blessing” – i.e., an opportunity to get out of jail early:

        Q (by Mr. Rytting): And you referred to a “blessing.” And so who approached
           you about this blessing? To the best you recall.

        A. I want to say it was Mr. Foreman, but it could have been one of three people.
           But I want to say either Mr. Foreman or Mr. Beckcom, but it could have also
           been Oscar.

        Q. Now, and – Oscar Gonzalez?

        A. Yes.

        Q. Okay. And . . . whoever approached you, did they already have some
           information about Mr. Prible’s case?

        A. Oh, they had a plethora of information about Mr. Prible’s case. They had
           details, locations, what was found, where the body was, what happened. I
           mean, they had everything about Mr. Prible.

        Q. And that was – was this before you even saw Mr. Prible?

        A. This is before I even met him.

Id. at 95.

                2.       Walker testified that before Prible even arrived at FCI Medium, the
                         inmates had detailed, non-public information about his case,
                         supporting Petitioner’s theory that the prosecutor must have fed them
                         the information.

        When asked whether the source of all of this information was newspapers or other

inmates, Walker testified that “my opinion at the time, the only people that could have known

9
 Beckcom testified that he remembered Walker and that Walker visited him and Foreman sometimes. Ev. Hrg. Tr.
Vol. 1 at 232.

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that is the individual that either done it or the people that was on the scene when they recovered

the bodies.” Id. at 96. The inmates “basically presented [me] with a proposition that if I didn’t

want to do all my time, I could be given this information to use to reduce my time, if I testified.”

Id. at 97. He explained that he was not recruited to get information from Prible, because “[t]here

was no information they needed to get. All the information was already presented to me.” Id. at

97. He explained the scheme this way:

       And in regards to what we were expected to do was collaborate as if we became
       prison buddies or pals or et cetera, and then he, all of a sudden, feel compelled to
       confess all these horrific things. And then at that point, we supposed to have
       written letters to the prosecutor asking to be a witness or – or volunteering to be a
       witness because we was just so overwhelmed about the information he
       supposedly give us. . . . It was discussed, strategized, platted out. I mean, there
       was things in play before they even came to frutation [sic]. It was already
       mapped out. . . . It was discussed on the yard what the intentions were. Like,
       prior to getting him intoxicated. Prior to having him in photo shoots. Prior to
       getting him drugs. . . . [M]ost of the things that was done to Mr. Prible or to stage
       the appearance of being close to Mr. Prible was already preordained.

Id. at 98-99.

       Walker testified that the main individuals involved in the planning were Beckcom and

Foreman, but Dominguez, Gonzalez, and others were also involved. Id. at 99. He remembers

Beckcom being really adamant about going through with the scheme because he had blown a

few hundred thousand dollars of his mom’s money playing the stock market, and he needed to

get home to help her out. Id. at 105. But Walker got the sense that the scheme did not originate

with Beckcom or Foreman, “[b]ecause the details they knew and how they knew what they knew

was so vivid or so in depth that, like I say, I knew before he got there, and they knew even more

than I knew.” Id. at 99-100. The inmates instructed Walker to call Siegler, and he wrote her




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number down in his prison phone book. Id. at 100.10 Walker knows for a fact that Beckcom,

Foreman, and Oscar were calling Siegler, because they were in the unit together and he

witnessed them making calls. Id. at 109. He said those inmates could call from their counselors’

phones. Id. at 110.11

                    3.      Walker testified that the prison photos with Prible were meant to
                            serve as corroborating evidence for a “confession.”

           Walker was shown a prison photograph contained in Exhibit 32 and was able to identify

everyone in the photograph. Id. at 101. He said that “95 or 100% of everybody in that

photograph was in the plot against Mr. Prible,” including himself at the time. Id. at 102. The

photo was not spontaneous. Id. at 103. Photo tickets had to be pre-purchased, and “everybody

was instructed to be there to be part of that group [photo].” Id. at 103. He thinks that everyone

in the photo had Siegler’s phone number except for Prible. Id. at 103.

           Walker had not previously seen the photograph featuring Prible, Beckcom, Foreman, and

their families, but he knew about the photograph. Id. at 110. He said that “[b]efore that

photograph was even taken, there was discussed that . . . that particular photograph was going to

be taken to establish how close netted [sic] the group was”:

           [T]he whole plot or the plan was to create a picture of close intimacy with Mr.
           Prible, a close connection. So the – the way you create – the way it was being
           created was to show that, like, his family was with their family, or we all was in
           group pictures or individuals with him. . . You’re trying to show that he would be
           comfortable enough or confident enough in your friendship to give you this
           information. Otherwise, it was – there was no basis [for him to confess].”

Id. at 110-11.

                    4.      Walker described how he and Oscar Gonzalez made a batch of grape
                            wine specifically for the night of the “confession” – proving that the
                            spontaneous “confession” was planned at least 30 days in advance.

10
     See Walker’s personal phone book listing “Kelly Singer” (Exhibit 107).
11
     This is corroborated by Harpe’s declaration (Exhibit 73), Foreman’s testimony, and Beckcom’s testimony.

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       Walker also described a plan that the inmates carried out to get Prible intoxicated. See id.

at 112. Walker said he and his cellmate, Oscar Gonzalez, were the winemakers at the prison. Id.

He explained that prison wine could be made out of sugar and various fruits, potatoes, or

tomatoes found at the prison, given enough time. The hard part was hiding the wine and

concealing it while it was brewing. Id. Walker told the Court how the inmates prepared a

special batch of grape wine for Prible:

       Q (by Mr. Rytting): And was a particular batch of alcohol made for the purpose
          of giving it to Mr. Prible?

       A. As a matter of fact, there was. There was some grape wine made for Mr.
          Prible.

       Q. And what’s significant about grape wine?

       A. I don’t know it’s significant. One of the things about the grape wine is – from
          being a person that made wine, it takes longer to form it than any other one.
          Any – the average wine takes maybe ten days or so given – give or take. But
          grape wine takes about 30 days. . . . So you can’t make it in bulk. You can’t
          make a whole lot of it. Where we would make two, three, maybe 4 gallons of
          some of the other kind of wine, this one you would have to make maybe a
          gallon or real small amount because it took so long to ferment, trying to hide it
          for a month is a very difficult task versus trying to hide it for 10 days or 12
          days or something.

Id. at 112-13. Walker testified that it was understood, from the beginning, that this batch of

grape wine would be “specifically for Mr. Prible.” Id. at 114. Walker described a scene where

all of the inmates involved in Prible’s set-up held a party “under the gazebo” where they drank

the grape wine. Id. He recalled Prible getting so drunk that he needed assistance. Id. Walker

said that part of the motive behind getting Prible intoxicated was to get him to say something he

shouldn’t,




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         but it really didn’t matter if he got drunk and decided to confide or not because
         even before he was – before all that even took place, the knowledge was already
         there, you know. That was more of a formality, like, you would go through the
         motions. You would set it up. So it’s just to establish a closeness that, Hey, we
         go out. We drink. We hang out, you know, do this, do that. So it’s – if he would
         have confessed, I mean, what – it was done to establish the intimacy of our group.
         [But] [t]o my knowledge, Mr. Prible never confessed.

Id. at 114-15.

                  5.       Walker’s testimony provides support for Petitioner’s theory that
                           Beckcom actually wrote the inmate letters to Siegler.

         As for the instruction to write Siegler a letter, Walker said he signed a typed letter to her,

but did not actually write it. Id. at 116. He said the inmates discussed what the letter would say.

Id. at 117. The letter was structured so other inmates’ names were mentioned (i.e., Foreman,

Martinez, etc.), thereby corroborating each other’s stories. Id.12 Walker believes that Beckcom

actually wrote the letter that Walker signed. Id. at 132. He said an inmate would have to have

privacy and access to a typewriter to type a letter like that, either in the law library or if you

taught a class. Id. at 132.13

                  6.       Walker’s testimony supports Petitioner’s allegation that the factual
                           basis of his habeas claims was not available to him when he filed his
                           initial habeas petition in 2004.

         Walker testified that after a hurricane hit Beaumont in 2005, he was shipped, along with

several hundred other FCI Beaumont inmates, to another federal prison in Yazoo, Mississippi.

Id. at 119. One of the other transferred inmates was named “Smiley” Wilson, and he had been

an acquaintance of Walker’s at FCI Beaumont. Id. at 119-20. Walker had previously revealed to

Smiley “some information about what had happened to Mr. Prible.” Id. at 120. Smiley informed

Walker that there was an inmate named Larry Walker who had been receiving letters from an


12
   In this way, the informant letters are similar to Beckcom’s handwritten statement and trial testimony, in which
Foreman is a silent corroborating witness.
13
   Beckcom taught a stock market class at the prison. See Beckcom’s deposition transcript, Exhibit 29 at 142.

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attorney with information that Smiley had remembered hearing from Carl Walker. Id. at 120-21.

Prible’s attorneys had been writing to the wrong “Walker.” Id. at 121. Smiley grabbed one of

the letters from Larry and gave it to Carl. Id. Carl “automatically knew what it was, who it was.

I knew the whole thing.” Id. Carl reached out to Prible’s attorney and let him know that he was

the right Walker, and that they had been communicating with the wrong one. Id. at 121-22. This

was the first time Carl Walker ever reached out to Prible’s counsel. Id. at 122.14

           Walker testified that Prible was a mark “in every sense of the word.” Id. at 106. Hermilo

Herrero was also a mark, but Walker wasn’t directly linked to the set-up of Herrero. Id. at 106.

Walker remembered that “a person named Jesse” was involved in Herrero’s case, as was

Dominguez, and that Foreman and Beckcom were “more than aware” of Herrero’s case. Id. at

106-07.

           On cross, Walker described a conversation that he had had with Hermilo Herrero after

Herrero’s trial on a transit bus from Harris County going back to FCI Beaumont. Id. at 124.

Walker had returned to state court to get his probation dismissed. On the way back to Beaumont

in the van, he and Herrero “realized who we were, and we realized we knew the same people,

and he told me his name, then I knew who he was, and, you know, I was like, Wow.” Id. at 124.

Herrero tried to get Walker to write him an affidavit for his case, but Walker would not do it,

because he did not want to expose himself as a snitch at the very violent FCI Beaumont Medium.

Id. at 124-25.

                    7.       Walker was unshakeable under cross-examination.

           On cross, Walker testified that he “kn[ew] for a fact that I made more than at least one

attempt to reach out to Ms. Siegler because that’s what I was instructed to do.” Id. at 125. He

does not recall if he ever spoke with Siegler directly. Id. He said Siegler did not personally give
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     This story was confirmed by Prible’s state habeas counsel, Roland Moore, at the 2011 state writ hearing.

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him any details about Prible’s case, nor offer him a deal. Id. Under cross-examination, he stuck

to his story about when he learned the information about Prible’s case:

       Q (by Mr. d’Hemecourt): And you testified that you had some specific details
          about Mr. Prible’s crime, correct?

       A. I did. I do.

       Q. When did you get those details?

       A. I think the details came into play once I agreed to take part of the – the deal.
          Whatever you call it.

       Q. And do you recall around when that was?

       A. It was before I met Mr. Prible. That’s for sure.

Id. at 127. Walker ended up not testifying against Prible at trial. He explained that he “just fell

to the wayside” because he “wasn’t fully enthusiastic about the process” of informing on Prible.

Id. at 115-16.

       C.        Johnny Bonds

       Johnny Bonds was the HCDA investigator on the Prible prosecution. He testified as to

the general Brady practices at the HCDA, Siegler’s Brady practices in particular, and the

interviews that he and Siegler undertook with respect to Beckcom and Foreman during their

workup of Prible’s case.

                 1.      Bonds’ testimony provides support for Petitioner’s claim that Brady
                         evidence was concealed from his trial counsel, notwithstanding
                         Siegler’s claim that all information in her file – including her work
                         product notes – was available to defense counsel to review at any time.

       Bonds testified that he did not know whether there was an open file policy at the HCDA

back in 2001 and 2002. “I know we turned files over,” he said. “I’m sure that there were some

things in the file that weren’t turned over.” See Ev. Hr. Tr. Vol. 1 at 135. He did not “personally

think it should have been a problem” if supplemental reports had been left out of the offense

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report given to defense counsel to review. Id. at 136-37. He remembered that “[T]here were

some [] things [defense counsel] were not allowed to see or take copies of.” Id. at 137. As for

Siegler’s personal Brady practices, Bonds testified:

       I know that Kelly didn’t give up anything she didn’t have to give up. I know she
       followed the law. I never saw her do anything that was – was in violation of the
       rules . . . But I know she never gave anything away. . . .[S]he made the defense
       earn what they got.

Id. at 151. Regarding whether it was common practice to withhold witness statements from the

defense unless the witness was testifying, Bonds testified:

       Q (by Ms. Scardino): . . . So back in 2001, 2002, do you recall if it was . . .
          common practice to withhold statements unless the witness was testifying?

       A. You know, I don’t know the exact rule. I know that everything we did was in
          compliance with state law.

       Q. Okay.

       A. We didn’t – we didn’t do anything that was in violation of state law.

       Q. Okay. And I’m asking what you – what the practice was.

       A. I don’t know what the practice was.

       Q. What Ms. Siegler’s practice was.

       A. I think – I think – you know, actually, I think probably some – some
          prosecutors had different – different [] practices than others. So I don’t – I
          don’t know. But to my knowledge, nobody did anything they weren’t
          supposed to do.

Id. at 152-53.

                 2.   Bonds confirmed that the evidence the HCDA had in 1999 was
                      insufficient to charge Prible with the murders.

       Bonds was asked why the DNA match to Prible in 1999 would not have been enough to

charge him in the murders, and he testified that it was because Prible had said, from the very

beginning, that his DNA would be found because he and Tirado had had voluntary sexual

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relations. Id. at 143. Bonds said that in his experience, whenever there was probable cause, a

case would be presented to the grand jury. Id. at 143-44. It would not just sit around going cold.

Id. at 144.

        As for why the HCDA suddenly accepted charges against Prible in 2001, the following

exchange took place:

        Q (by Ms. Scardino): . . . Do you know why charges were all of a sudden
           accepted against Prible? What new evidence came to light?

        A. Well, the new evidence, I’m assuming, was Beckcom. That – that, combined
           with the DNA evidence and, you know, the other circumstances. I mean, I
           think Beckcom was the icing on the cake.

        Q. Okay. Is it possible that at that July 3rd, ’01, meeting with Moreno, that Ms.
           Siegler discussed Prible’s case with Moreno, who was old friends with Nathan
           Foreman?

        A. I – you know, I have no idea. I can’t say.

See id. at 148-49.

               3.      Bonds confirmed that the August 8, 2001 meeting with Foreman at the
                       FDC in Houston was the first time either one of them had ever met
                       Foreman.

        Bonds testified that when he and Siegler went to meet Foreman at the FDC in Houston,

“that was the first time either one of us had ever met him.” Id. at 147-48.        Bonds said he

assumed that Foreman knew that Siegler was working on the Prible case, but “I don’t know how

he knew.” Id. at 148. Bonds insisted at his deposition that at the time he and Siegler first spoke

to Foreman on August 8, 2001, Siegler had already spoken with another inmate about Prible’s

case. See id. at 140-41, 145. According to Bonds,

        [A]pparently, Foreman had some information from somebody that Prible was the
        suspect and that, you know, that he possibly could get some leverage by saying he
        confessed to me. . . . [S]o he knew about Prible. I don’t know how he knew about
        Prible. I don’t know if he got it from . . . Beckcom or somebody else. I don’t
        know where he got the information. But he did know about Prible.

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Id. at 158-59.
                 4.   Bonds’ testimony supports Petitioner’s claim that Siegler continued to
                      cultivate Foreman as an informant even after their initial interview
                      revealed him to be a liar.

       Bonds interviewed Foreman twice, with Siegler, and concluded that Foreman was

fabricating evidence. According to Bonds,

       [Foreman] starts telling us basically [Prible] did it, you know, and he couldn’t
       give us any details. . . . And two minutes into his conversation, I’m like, This guy
       is lying. He doesn’t know anything about this case. Then I asked him to describe
       Prible. He’s like, What? I said, What does he look like? And he couldn’t give
       me a physical description. And at that point, I don’t think he – at that time we
       talked to Nathan Foreman, I don’t think he had ever met Prible. . . .

       [I]t was real obvious, after talking to Foreman for a few minutes, he was just
       lying. And, basically, we confronted him with it. . . . You’re wasting our time,
       you know. The bottom line is, we told him we don’t need people lying to us, you
       know. If you have good information, that’s fine. But don’t come to us with a
       bunch of lies because we’re not going to be able use lies and . . . then blew him
       off. And I’ll tell you something. He kind of – I remember he kind of like, Well,
       is it worth a try. I mean, he was – he was trying to get in on the bandwagon, you
       know, get some of this good time. And it was obvious he knew that it wasn’t
       working.”

Id. at 139-41 (emphasis added).

       Bonds testified that the information Foreman provided contrasted sharply with

Beckcom’s. Id. at 159-60. Bonds explained that Beckcom’s information “was very detailed. It

fit the crime. He had information that only the – the defendant would have known.” Id. at 160.

Foreman, on the other hand, “was just guessing.” Id. at 160. Nonetheless, Bonds indicated that

the door was left open for Foreman to return to them if he got more information:

       Q (by Ms. Scardino): Now, when you and Kelly interviewed Foreman back in
          August 8th, ’01, and you immediately found the guy to be just a liar, did Kelly
          agree with you?

       A. Uh-huh. Absolutely.

       Q. Okay. What did she say at that time?


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       A. Basically, you know, Look, you’re wasting our time. Don’t be calling us if
          you don’t know what you’re talking about. You know, we know what you’re
          trying to do, and it’s not working.

       Q. Uh-huh. Uh-huh. If he had called you back later with information that was –
          that he had gotten from Prible, would that have been a different story, or
          would you have automatically sort of –

       A. I – I – you know, my feeling about him was his credibility was not – he had no
          credibility.

       Q. Was shot?

       A. Yeah. So, it’s possible that he did get new information. I’m not saying that
          didn’t happen.

       Q. Uh-huh.

       A. Apparently, he did befriend him because they got a picture together in
          November of ’01.

       Q. Uh-huh.

       A. So he may have gone and got more information. I mean, we basically told
          him at that time, Don’t come [to] us when you don’t know anything.

See id. at 172-73 (emphasis added).

       When presented with his notes from a December 10, 2001 meeting between him, Siegler,

and Foreman, Bonds said he did not remember attending that meeting. Id. at 161-62. He said he

may have gone over to Beaumont with Siegler that day, but to meet with somebody at the state

prison while Siegler spoke with Foreman and Beckcom at FCI Beaumont. Id. at 162. He was

“kind of at a loss of why we would want to talk to [Foreman] again.” Id. at 162, 164.

              5.      Bonds’ testimony provides support for Petitioner’s claim that Siegler
                      suppressed Brady evidence concerning the other Prible/Herrero
                      informants, as Bonds himself never knew that there were other
                      inmates vying to testify against Prible.




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       Bonds testified that he was not aware of any inmates other than Beckcom and Foreman

“trying to get on this bandwagon” to testify against Prible in exchange for a time cut. Id. at 141-

42. He testified that he had never seen the following:

       •       the April 4, 2001 letter from Jesse Moreno to Siegler (Exhibit 6), Ev. Hr.
               Tr. Vol. 1 at 145-46;

       •       the letter from Moreno’s mom to Siegler (Exhibit 10), Ev. Hr. Tr. Vol. 1 at 145-
               46;

       •       the letter from Jesse “Oscar” Gonzalez to Siegler (Exhibit 37), Ev. Hr. Tr. Vol. 1
               at 154;

       •       the letter from Carl Walker to Siegler (Exhibit 36), Ev. Hr. Tr. Vol. 1 at 154;

       •       the letter from Mark Martinez to Siegler (Exhibit 35), Ev. Hr. Tr. Vol. 1 at 155;
               and

       •       the photos of Prible and the informants who had written to Siegler (Exhibit 32),
               Ev. Hr. Tr. Vol. 1 at 156.

Bonds testified that he had never heard of the Hermilo Herrero case either. Id. at 146.

       D.      Victor Wisner

       Wisner was Siegler’s co-counsel at Prible’s trial. His testimony supports Petitioner’s

claim that Siegler concealed Brady evidence.

               1.     Wisner’s testimony contradicted Siegler’s assertion that Prible’s trial
                      counsel had access to her entire file, including her attorney work
                      product; Wisner himself did not even know about any informants
                      other than Beckcom.

       Wisner testified that at the HCDA, “[w]e would always have an open file policy unless

there was some extraordinary need not to, but it would not include our personal notes in

preparation for trial” – i.e., work product. Ev. Hrg. Tr. Vol. 1 at 186. Wisner testified that he

had no idea that there were inmates other than Michael Beckcom in FCI Beaumont who were

vying to testify against Prible. Id. at 192. Wisner said that he had never heard of Nathan


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Foreman. Id. at 189. He said he did not know that Siegler and Bonds met with Foreman back on

August 8, 2001, before Prible was indicted. Id. at 189-90. “[I]f they would have told me that

George Foreman’s nephew had met with them,” he testified, “it would have stuck out in my

mind.” Id. at 190. Wisner knew nothing of Foreman coming forward to try to testify against

Prible originally; nor that Foreman was the cellmate of the informant who ended up testifying.

Id. at 190. He was unaware that Siegler met with Beckcom and Foreman back-to-back on

December 10, 2001, at FCI Beaumont. Id. at 194.

        Wisner said that he never spoke with Beckcom on the telephone. Id. at 187-88. He said

he never spoke with informants on the telephone from prison, and was “not even sure I could

have accepted the call.” Id. at 188. He would assume that phone calls made on inmate phones

would be recorded, but that the office phones of BOP employees would not be. Id. at 188.

        Wisner also knew nothing about Carl Walker. He had never seen the letters to Siegler

from Walker (Exhibit 36), Mark Martinez (Exhibit 35), or Oscar Gonzalez (Exhibit 37). Ev.

Hrg. Tr. Vol. 1 at 192. He agreed that the informant letters would not constitute attorney work

product. Id. at 197. He acknowledged that if he were a defense attorney representing Prible, he

would probably have been able to use those documents to impeach Beckcom’s testimony at trial

that everything he heard about the case, he heard from Prible. See id. at 193-94. “At least I’d try

to, yes.” Id. at 194.

        Wisner knew nothing of Jesse Moreno. See id. at 194. He had never seen the letters to

Siegler from Moreno and his mother (Exhibits 6 and 10). Ev. Hrg. Tr. Vol. 1 at 194. He was

not aware of the July 3, 2001 meeting between Moreno and Siegler, nor that Moreno had talked

with Siegler about his friend, Nathan Foreman. Id. at 194-95 (“I don’t know anything about

Nathan Foreman because I don’t know names. But if I had heard that George Foreman’s nephew



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was involved, that would have stood out in my mind.”). He admitted that as a defense attorney,

he would have wanted to know about all of the dealings between Siegler, Moreno, and Foreman

in the setup of Prible. Id. at 196.

        Wisner was not familiar with the name of Hermilo Herrero. Id. at 195. He did not know

that the same snitches in Prible’s case were also snitching on Herrero at the same time. Id. at

196. Yet Wisner testified, improbably, that the jury still could have “fully evaluated” Beckcom’s

testimony without knowing all of the back-room machinations going on between Siegler and

these unknown prison informants:

        Q (by Ms. Scardino): Now that you know about all of these [informant letters]
        that were concealed in Ms. Siegler’s work product file, now that you know about
        her ongoing communications with a web of informants that she was working with
        on two cases simultaneously, do you feel that a jury could have fully evaluated
        Beckcom’s testimony without knowing all that?
        A. I would assume they were skeptical. They knew he was a federal inmate who
        was in custody on very serious charges, and he wanted consideration for what he
        did. So I would say I think they could have fully evaluated him.
Id. at 199.

        When pressed about his Brady obligations with respect to these other informants angling

to testify against Prible, Wisner said: “I couldn’t be responsible for Brady on something I didn’t

know. . . Are you saying I should ask a prosecutor I’m sitting with, Do you have any Brady

information that you’re not telling me, and I need you to tell me so I can tell – tell the defense? . .

. I cannot read people’s minds, and I don’t [] have access to information that I don’t know.” Id.

at 191-92.

               2.      Wisner testified, improbably, that the testimony of Beckcom was
                       really just extraneous.

        Wisner admitted that the information about the other informants would have been “much

more important” without the DNA evidence in the victim’s mouth. Id. at 202. “[I]f all we had


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was a confession of Beckcom, . . . all of this would be extremely important to me both as a

prosecutor and a defense attorney.” Id. at 202. “Without the semen, your whole job is attacking

the informant.” Id. at 204. But in Wisner’s view, Beckcom’s testimony was not even necessary;

it was “just something to give color to the case.” Id. at 198. According to Wisner, the defense

had no plausible theory for why Prible’s DNA was found in the victim’s mouth. Id. at 201-202.

The reason given by Wisner for his opinion that the defensive theory of consensual oral sex was

implausible was because Prible “did not give off the appearance of somebody who would be

seen as attractive to a female.” Id. at 209. “If he was a handsome, tall, muscular, charismatic

person, it may lead me to a different conclusion, or it may seem possibly plausible.” Id. at 209-

210.

       E.      Michael Beckcom

       Throughout his testimony, Beckcom lied when it would suit his own needs. His first lie

came within the first minute of his testimony, when he coldly implied that he was simply present

at the scene when his murder victim was killed, rather than being the one who actually forced the

victim into the metal toolbox, shut the door, and snaked a garden hose from the muffler of his

running Ford Explorer into it so the man would suffocate to death. Id. at 211-212. He lied again

a minute later, when he said that “Siegler didn’t really help me on anything.” Id. at 213. In fact,

Siegler was able to get his sentenced reduced by one year because he testified for her in Prible’s

case. See Exhibit 131. But the most important feature of Beckcom’s testimony was that it was

diametrically opposed to Foreman’s testimony, when the two men, according to Beckcom’s

testimony at trial, were supposed to have heard the exact same “confession” from Prible.




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       F.      Kelly Siegler

               1.      Videotaped Deposition Testimony

       Siegler was intentionally unprepared, evasive, and combative at her deposition. She

became particularly hostile while being questioned about her appearance at Jesse Moreno’s Rule

35 hearing two months before Prible’s trial, and refused to answer questions about it even after

Petitioner’s counsel offered to seal that portion of the deposition.   See Exhibit 4-B.      She

claimed that she could not decipher her own handwriting when asked to read her work product

notes into the record. See Ev. Hrg. Tr. Vol. 2 at 152-53. But most disturbingly, Siegler flat-out

lied about many things that are easily verifiable.

                       a.      Siegler’s testimony supports the theory that she indicted Prible
                               only after discovering she had informants in FCI Beaumont
                               that she could use against him.

       Siegler testified that when she got the Prible case, she “[s]tarted from the beginning all

over again,” interviewing witnesses and conducting an investigation. Id. at 218. Yet there are no

notes in the file of any such interviews. Her inability to point to any new evidence stemming

from her renewed “investigation” supports Petitioner’s allegation that she decided to charge him

only after learning that she had willing informants in FCI Beaumont who would testify against

him. Furthermore, she was careful to conceal from the grand jury the fact that she was using the

same group of informants to prosecute Prible as she was using in her case against Hermilo

Herrero.

       Siegler testified that she presented Prible’s case to the grand jury in August 2001, after

she had met with Nathan Foreman. Id. at 45. She did not present any witnesses. Id. She

presented the Prible and Herrero cases to the same grand jury on the very same day. Id. at 46.

She testified that she told the grand jury there was an informant who would testify against



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Hermilo Herrero, but did not tell the grand jury that there was an informant who would testify

against Prible. Id. at 46. She did not inform the grand jury that the same group of informants

was assisting simultaneously on the two cases. See id. at 47.

                      b.      Siegler tried to deny that Moreno introduced her to Nathan
                              Foreman.

       Siegler claimed that she could not remember what she had done for Jesse Moreno when

he had testified for her a few years before Prible’s trial in the murder trial of another defendant

named Jason Morales. Id. at 21. She said she could not remember dismissing a charge of

aggravated robbery against Moreno, nor could she remember deciding not to charge him in a

capital murder case in which he was a suspect. Id. at 21.       The capital murder case in which

Jesse Moreno was never charged was Texas v. Gene Auther Taylor, Cause No. 0738114, in the

263rd District Court of Harris County. According to the Fourteenth Court of Appeals’ opinion

affirming Taylor’s conviction for capital murder, Moreno was the mastermind of a home

invasion involving Taylor and two others that ended with the murder of a drug dealer. See Gene

Auther Taylor v. State, Cause No. 14-97-01325-CR (14th Ct. App.—Nov. 18, 1999). Siegler

testified at her deposition that she did not handle that capital murder case and had “nothing to

do” with the decision not to charge Moreno. Id. at 22. Notably, however, the HCDA was

prosecuting the capital murder case at the same time that Siegler was prosecuting the Jason

Morales murder case with Moreno as a key witness.

       When asked whether Moreno was in the SHU at the time he wrote her the April 2001

letter, Siegler claimed she didn’t know what the SHU was, even though she had questioned

Beckcom about the SHU during the Prible trial. See 26 RR 96; Ev. Hrg. Tr. Vol. 2 at 25 (“I

don’t know what the SHU is. That’s your word. I’ve never heard that before.”).            She also




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professed not to know that Moreno was in the SHU with Foreman. Id. at 24. She insisted that

Moreno did not introduce her to Foreman.

                       c.     Siegler could not deny that she and Moreno discussed Prible’s
                              case at their July 3, 2001 meeting.

        Siegler told the federal judge at Jesse Moreno’s Rule 35 hearing that she met with

Moreno on July 3, 2001 “for about an hour and a half.” See Exhibit 49. Yet she only recorded

approximately 30 minutes of this meeting, leaving plenty of time to discuss Prible’s case

unrecorded. At her deposition, Siegler could not foreclose the possibility that she and Moreno

had discussed Prible’s case at that July 3, 2001 meeting:

        Q (by Ms. Scardino): At that meeting that you had with Mr. Moreno, at some
           point during that meeting, did Mr. Moreno inform you that Mr. Foreman,
           Nathan Foreman had heard a confession by Mr. Prible?

        A. I don’t remember what the details were, what Jesse Moreno told me that day.

        Q. So he might have told you that, but you just can’t recall?

        A. I cannot.

Id. at 36.

                       d.     Siegler tried to distance Moreno and Foreman from the Prible
                              prosecution, insisting that they were not “witnesses” in that
                              case.

        Siegler repeatedly insisted that with respect to Prible’s case, Moreno and Foreman were

not “witnesses.” Id. at 41, 74. She insisted that Foreman wasn’t involved in Prible’s case at all.

See id. at 52 (“You-all say Nathan Foreman was involved in the Prible case. He was not. . . You

want to make him involved. He wasn’t involved.”); id. at 88 (“One more time, Mr. Foreman was

not involved in Jeffrey Prible’s case. I know you want him to be, but he was not.”). She

disagreed with the assertion that Foreman tried to “set [Prible] up,” id. at 50, even while

conceding that Foreman came to her with a “confession” story before he had ever met Prible.

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She denied, inexplicably, that the same informants involved in the Prible case were also involved

in the Herrero case. Id. at 51.

       Siegler initially denied ever speaking with Foreman again after their first August 8, 2001

meeting. She testified as follows:

       Q (by Ms. Scardino): You spoke with [Foreman] on August 8th, 2001, right?

       A. I did.

       Q. And did you ever speak with him again after that?

       A. He probably tried to call me, but I don’t know what we talked about for very
          long because I knew he was a liar.

       Q. Okay. But you never met with him in person again?

       A. After the Beaumont – after the –

       Q. August 8th, 2001?

       A. – downtown Houston day, no.

       ...

       Q. Is it your testimony that you never spoke with [Foreman] again after August
       8th, 2001?

       A. That was the day of the downtown fed facility?

       Q. Uh-huh.

       A. I never talked to him again.

Id. at 94-95; 103-04. When confronted with evidence showing that she requested another

meeting with Foreman for December 10, 2001, the same day that she also met with Beckcom,

she had no explanation for it. “I don’t remember why we would have asked to go see him again

because Johnny and I both believed, when we walked away from the meeting with Nathan

Foreman at the downtown Houston facility, that he was not being truthful.” Id. at 108. She



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admitted she remembered the meeting with Beckcom that day, id. at 110-11, so she surely must

have remembered meeting with Foreman as well.

        In another attempt to distance Foreman from Prible’s case, she professed not to even

know that Foreman and Beckcom were cellmates:

        Q (by Ms. Scardino): . . . [A]nd you knew at this time that Mr. Foreman and Mr.
           Beckcom were cellmates at FCI Beaumont, right?

        A. I don’t know if I knew that back then.

        Q. When did you learn that?

        A. I don’t know that I’ve ever learned that. I’ve seen that in your petition.

        Q. You never knew at any time during your prosecution of Mr. Prible’s case that
           Foreman and Beckcom were cellmates at FCI medium?

        A. I don’t remember if I knew that. I knew that they all – they all hung out
           together on the yard working out outside. I knew that. But who was whose
           cellmate, I don’t know if I ever knew that.

        ...

        Q. Presumably, they’re cellmates, so they’re talking about this case together,
           right?

        A. I didn’t know they were cellmates.

Id. at 111-113.

        Siegler testified that because Foreman never testified in Prible’s case, she did not need to

reveal to Prible’s counsel the fact that she had written a Rule 35 letter to Foreman’s prosecutor.

Id. at 132.

                       e.      Siegler’s testimony supports Petitioner’s claim that she and
                               Beckcom misled the jury on the benefits she had promised him
                               for his testimony.

        Siegler admitted that she had already been speaking with Beckcom’s federal prosecutor,

AUSA Mark Cullers, for months leading up to Prible’s trial about a potential Rule 35 sentence


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reduction. Id. at 116-118. And she admitted that Beckcom knew she was in talks with Cullers

leading up to Prible’s trial. Id. at 118. She said she told Beckcom about her communications

with Cullers in order to reassure Beckcom that a Rule 35 motion would be forthcoming if he

testified truthfully. Id. at 118-119. She claimed, incredibly, that she could not remember

whether Cullers ended up writing a Rule 35 motion for Beckcom nor whether Beckcom got any

credit at all for his testimony in Prible’s case. Id. at 127 (“What is the end of the story? I don’t

know.”). She said she would not characterize the correspondence she had with Cullers, in which

she successfully persuaded him to file a Rule 35 motion for Beckcom, as a “favor” to Beckcom.

Id. at 128.

                       f.      Presumably to shield herself from the same Brady scrutiny that
                               she had experienced in the Temple case, Siegler improbably
                               claimed that her entire file, including all of her work product
                               notes, had been made available to Prible’s trial counsel.

        At David Temple’s state writ hearing, Siegler testified that she was not required to turn

over favorable evidence if she did not believe it to be relevant, inconsistent, or credible, or if it

was, in her assessment, “ridiculous.” See Ex Parte David Mark Temple, No. WR-78,545-02

(Tex. Ct. Crim. App.—Nov. 23, 2016). She also stated that if information does not amount to

anything, the defense is not entitled to it. Id. The Texas Court of Criminal Appeals agreed with

the state habeas judge in finding that Siegler’s “misconception regarding her duty under Brady

was ‘of enormous significance’” and granted habeas relief. Id. Having been called out for 36

separate Brady violations in the Temple case, Siegler was evidently determined not to take any

chances with her testimony in Prible’s case. She claimed, unbelievably, that everything in her

file was disclosed to Prible’s defense counsel – even her personal notes and other work product.

See Ev. Hrg. Tr. Vol. 2 at 43, 62-63, 67-70. Her testimony in this regard conflicts with her

statements at a pre-trial discovery hearing in Prible’s case, in which she argued that she did not

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have to disclose her notes of interviews with Michael Beckcom because they constituted work

product. See Exhibit 70 at 7.15

                  2.       Live Testimony

         Siegler’s live testimony at the hearing was similarly unreliable. Once again, she showed

up intentionally unprepared to testify, never having reviewed the Prible file or even asking the

HCDA if she could look at it. Ev. Hrg. Tr. Vol. 3 at 23. Once again, she was cagey about many

matters, and downright untruthful about others.

                           a.       Siegler’s testimony at the evidentiary hearing supports
                                    Petitioner’s theory that she orchestrated the informant
                                    conspiracy by first discussing Prible’s case with Jesse Moreno,
                                    who then put in her in touch with Nathan Foreman.

         Siegler admitted at the hearing that she discussed Prible’s case with Jesse Moreno. Id. at

24. She would have had no reason to do so except in the context of the informant conspiracy, as

Moreno had no firsthand knowledge of the Herrera/Tirado murders and did not personally know

the Herrera/Tirado family or Jeff Prible. Siegler initially admitted that she knew Moreno was in

the SHU with Foreman and Rafael Dominguez, but disagreed that they hatched their plan to

inform on Herrero and Prible while in the SHU together. Id. at 25. Then she reversed her earlier

statement and denied knowing that Foreman and Moreno were in the SHU together. Id. at 26-27.

         Siegler was questioned about her testimony at the Rule 35 hearing for Jesse Moreno in

Lafayette, Louisiana on August 22, 2002, and about her assertion, at her deposition, that she was

instructed not to tell anyone about it:

         Q (by Ms. Scardino): What exactly did the federal judge tell you that day about
            not telling anyone about your testimony?

         A. That it was confidential and that I should not talk about it to anyone.

15
  Her testimony is also at odds with that that of her co-counsel, Wisner, who testified that the HCDA’s open file
policy excluded attorney work product.

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       Q. And he gave you this instruction at the hearing?

       A. He did.

       Q. And so it would be in the transcript?

       A. I would assume so.

       Q. And so for that reason, you never told anyone, before your deposition in this
       case, that you had testified in Moreno’s Rule 35 hearing?

       A. Not that I remember.

       Q. You never disclosed it to Mr. Herrero’s attorneys, right?

       A. It happened after the trial.

       Q. But don’t you have a continuing obligation to disclose Brady [] evidence even
          after a trial has been completed?

       A. It was told to the jury and the judge and the defense lawyers during the trial.
          They knew all that was going to happen.

       Q. They didn’t know that you were going to personally testify at his hearing, did
          they?

       A. Yes, they did.

       Q. You think that’s in the transcript somewhere – in the Herrero transcript?

       A. Yes, ma’am.

Id. at 32-33. Siegler’s testimony is impeached by the transcript of the Moreno Rule 35 hearing.

See Exhibit 49. No such instruction was given to her on the record by Moreno’s federal judge.

Her testimony is further impeached by the State v. Herrero trial transcript (Exhibits 63 and 161),

her March 2016 affidavit given in Herrero’s state habeas case (Exhibit 125), and her October

2017 deposition testimony in this case (Exhibit 4-A). At Herrero’s trial, Siegler told the jury

this in her opening statement:

              You’re also going to hear Jesse tell you about this deal that he cut with
       me. Because understand, y’all get to hear all of it. Jesse will tell you that in
       exchange for his testimony from that chair to you later today or tomorrow, this is
       his understanding of what will happen for him:

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               I am to write a letter to his – his old former Assistant United States
       Attorney who handled Jesse Moreno’s case that put him in prison in the first
       place, and that after I write that letter, his Assistant United States Attorney will
       take that letter and forward it to a panel of three judges. Now that letter is to say,
       depending on my opinion of how he testifies, truthfully and completely and
       completely forthcoming to you. My letter goes to his A.U.S.A., to a panel of
       three judges, and within sixty days Jesse Moreno will be notified by mail whether
       or not he gets any kind of time cut. It’s called a Rule 35 under the federal system.
               So Jesse Moreno will tell you that in exchange for confronting this
       defendant, running all the risks that he already has, he doesn’t know what may or
       may not happen. It’s completely up to three federal judges that he’ll never see
       face-to-face. That is the great, wonderful deal that he’s cut to tell you what he
       knows about this defendant.

See Exhibit 161 at 11-12. Later in Herrero’s trial, Siegler had this exchange with Moreno:




                                                ...




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     truthfully and completely, your understanding,                    sittin~


     here today, is t ha t          I wou ld write you a le tte r say ing

     that to yo ur federal prosecutor?

           A.     Yes, ma'am.

           Q.         hat happens, Mr. Moreno,           if after you get

     all done     ere,    I   fee     li ke you l'ed?

           A.     I    don't get nothing.

           Q.     Why not?

           A.     If you feel           ke I lie ,   I   gett'nq nothinq.

           Q.     Because I         ain't wr'ting the l e tte r, right?

           A.     Even if you write the letter ,             I'm not

     qua anteed anything.

           Q.     What happens if after you're al l done here

     testifying, if I         feel like you're holding back on

     something?       Not quite lying, but just holding back a

     little b it?

          A.      I don ' t get anything.
          Q.      Okay.       Le 's pretend that I wr ite the letter

    for you, because you testified tru hfully and

    comp etely,       in my opin ' on.         The letter goes to your

    federa l prosec utor.            Is there any guarantee       rom your

    federa      prosecutor about what is going to happen,                if

    yo u ge t   a reduction or not?

          A.      No, ma'am,        there is no guarantee .

          Q.     And le 's just say tha              I write the le ter




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See excerpt from trial transcript of State v. Herrero, Exhibit 63, Vol. 3 at 168-70. Siegler and

Moreno also told the Herrero jury this, which proved to be false:




These exchanges with Moreno took place on April 24, 2002. On August 22, 2002, Siegler

traveled to Lafayette and persuaded Moreno’s federal judge to reduce his remaining 78-month

sentence to 1 month. See Exhibit 49. Moreno got to be present at the hearing. Id. In her March

2016 affidavit in Herrero’s state writ case, Siegler again left out the part about her testifying in

person at Moreno’s Rule 35 hearing. All she said was:




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Exhibit 125.

       Siegler testified at the evidentiary hearing that the reason she did not tell Prible’s

attorneys that she testified in Moreno’s sentence reduction hearing two months before Prible’s

trial is because “Moreno did not testify in Prible’s trial.” Ev. Hrg. Tr. Vol. 3 at 34. Siegler

denied that Moreno put her in contact with Foreman. Id. As she had done in her deposition, she

sought to distance Moreno as much as possible from Prible’s case:

       Q (by Ms. Scardino): Now, you didn’t tell the [Prible] court at [the pre-trial
          hearing] that the Louisiana hearing was for Jesse Moreno, who you had
          spoken with about Prible’s case and had recruited you your original informant
          in that case, did you?

       A. There was no need to at that point. And, again, Jesse Moreno was not a
          witness in the Prible case.

       Q. Even though he spoke with you about the Prible case and got you in touch
          with Nathan Foreman?

       A. I disagree with the way you phrased that question. That’s not how I remember
          it happening. Jesse Moreno was not a witness in the Prible case.

Id. at 37. Likewise, she continued to try to distance Foreman from Prible’s case:

       Q (by Ms. Scardino): Now, Nathan Foreman wasn’t just another inmate at FCI
          Medium, was he? He was your original snitch in this case.

       A. I disagree with that completely.

       Q. You think he wasn’t involved in this case as a snitch?

       A. As I stated over and over and over again at the deposition, I did not use
          Nathan Foreman as a witness because I never believed that he was credible.
          We went over this a lot of times the day of the deposition, and you keep
          wanting to infer that I used Nathan Foreman in the Prible case. I did not.

       Q. Now, you remember Beckcom’s testimony at trial, that Nathan Foreman was a
          corroborating witness to every single piece of the confession that he
          supposedly got from Mr. Prible?


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        A. That’s not exactly the way I would describe it, but the transcript will speak for
           itself.

        ...

        Q (by Ms. Scardino): . . . Nathan Foreman was the nontestifying but
          corroborating witness to Beckcom’s confession story, wasn’t he?

        A. I disagree with that. Nathan Foreman was not a witness in Jeffrey Prible’s trial.

Id. at 38-39, 43.

                       b.      Siegler admitted at the hearing that without Beckcom’s
                               testimony, she was not confident that she could secure a
                               conviction.

        At the evidentiary hearing, this Court asked Siegler why, if Prible’s was the only capital

case in which she used an informant, she thought the dimensions of the case made it particularly

appropriate to use Mr. Beckcom as a witness. Id. at 47. She responded:

        I believe that the case against Jeffrey Prible was strong enough for a jury to
        convict, but I did not want to live the rest of my life not using Michael Beckcom
        and maybe one juror or two jurors having a little bit of doubt and telling me that,
        and then regretting for the rest of my life and career that I didn’t use an inmate. I
        thought I had enough, but I – I wanted to be sure. I wanted to make sure that I did
        all that I needed to in this case. . . . It was a cold case, but I believe there was
        enough there for an indictment and a conviction even without Michael Beckcom.
        I believed that, but I can’t – I can’t make that automatically that 12 jurors are
        going to agree with me. I believed there was enough without Michael Beckcom,
        but I didn’t want to run the risk that 1 of 12 jurors might wish that there was a
        little bit more . . .

Her testimony supports Petitioner’s claim that Beckcom’s testimony was material to the

conviction.

                       c.      Siegler told this Court that Beckcom did not get anything for
                               his testimony in the Prible case, when he actually got a year off
                               of his remaining sentence.

        At the hearing, the Court inquired as to any benefits bestowed on Beckcom for testifying

in the Prible case:

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        THE COURT: And Mr. Beckcom has testified that in the end, he didn’t get
        anything out of having talked to you and talked with Mr. Bonds. That he didn’t
        get a time cut; he didn’t get anything. Is that true?

        SIEGLER: I believe it is, sir.

        THE COURT: Did you try to get him a time cut or anything like that?

        SIEGLER: I wrote a letter, and I think that y’all have a copy of that letter, the
        same – the same letter.

Ev. Hrg. Tr. Vol. 3 at 53. For testifying against Prible, Beckcom actually got his already-lenient

135-month sentence for murdering a federal witness reduced to 123 months.               See U.S. v.

Beckcom, Case No. 1:98-cr-05157-OWW (E.D. Cal.) at Dkt. Nos. 28-29. And Siegler did much

more than write him a letter to ensure that he got this time cut. Her extensive efforts on

Beckcom’s behalf are outlined in Sections IV(B)(9) and IV(D) of Petitioner’s Fourth Amended

Petition.

                       d.      Siegler testified that her understanding of Brady was consistent
                               during the time period that she was trying the David Temple
                               and Prible cases.

        As she had in her deposition, Siegler testified at the evidentiary hearing that everything in

her file was disclosed to Prible’s defense counsel – even her personal notes and other work

product. See Ev. Hrg. Tr. Vol. 3 at 36-37. She insisted this was the case even when confronted

with the transcript of a pre-trial hearing in the Prible case in which she asserted, on the record,

work product protection over certain materials requested by the defense. Id. Siegler testified at

the hearing that her understanding of the Brady rule was consistent during the time period that

she tried the Temple and Prible cases. Id. at 39-40. This is significant, because the Texas Court

of Criminal Appeals ruled, in the Temple case, that she fundamentally misconceived her duty

under Brady. See Ex Parte David Mark Temple, No. WR-78,545-02 (Tex. Ct. Crim. App.—

Nov. 23, 2016); Ev. Hrg. Tr. Vol. 3 at 40.

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       In the Temple writ hearing, Siegler testified to the following understanding of Brady:

       Q. And so, you’ve told us that you believe inconsistent statements to fall under
          the rules of Brady, yes?

       A. Correct.

       Q. Inconsistent statements of whom?

       A. Material witnesses.

       Q. What about – well, tell us your understanding of material witness.

       A. Well, I think if you get called to testify at trial, you are pretty material.

       ...

       Q. If [a] lead doesn’t amount to anything in your opinion, then in your opinion the
           defense doesn’t get it, right?

       A. In so many words, yes.

       ...

       Q. Is it your opinion that Brady relies on your assessment of the evidence?

       A. Unfortunately, yes.

       Q. And if in your assessment of the evidence it is kooky or a rabbit trail, then it’s
          not Brady?

       A. In most cases, that is correct.

       ...

       Q. . . . Earlier what I heard you say was that if law enforcement vetted it, that it
           turned up a dead-end, then you did not believe that to be Brady and that you
           didn’t need to turn that over to the defense.

       A. In some cases, that’s correct.

See Exhibit 132 at 186, 249-50, 263, 265. This testimony from the Temple hearing is relevant to

Siegler’s conduct in Prible’s case. She understood that evidence had to be disclosed under Brady

only if it was credible, and that she, the prosecutor, made the gateway credibility determination.



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See Exhibit 65 (Findings of Fact and Conclusions of Law entered in Ex Parte Temple, Cause

No. 921126-B, in the 351st District Court of Harris County, Texas, on June 24, 2011); Ex Parte

David Mark Temple, No. WR-78,545-02 (Tex. Ct. Crim. App.—Nov. 23, 2016); Ev. Hrg. Tr.

Vol. 3 at 40. Siegler testified that she did not believe Foreman, Walker, Gonzalez, or Martinez.

If she concealed her communications with these inmates from the defense because she did not

find them to be credible, she misconceived her duty under Brady.

       At the Temple writ hearing, Siegler testified to her incorrect understanding that only

inconsistent statements of “material witnesses” fall under Brady, and that a witness is “material”

only if he or she gets called to testify at trial. See Exhibit 132 at 186. Because Foreman and

Moreno were not called to testify at trial, they would not be “material witnesses” under Siegler’s

definition. If she believed she did not have to disclose her communications with them because

they were not “material witnesses,” she violated the Brady rule in the same way she violated it in

the Temple case.

                      e.      Siegler regularly used jailhouse informants to obtain
                              convictions in capital cases, notwithstanding her testimony at
                              the hearing that she could not remember any others.

       The following exchange occurred at the evidentiary hearing:

       THE COURT: “To the best of your recollection, in how many capital cases did
       you use as witnesses prison inmates who were in the same facility as the
       accused?”

       MS. SIEGLER: Judge, right now I’m just thinking of this one. I think it’s just
       this one.

Later, Siegler told the Court that “there could have been other death penalty cases where I used

another inmate, I just can’t think of them right now.” Id. at 53. In fact, Siegler is known to have

used prison informants in at least four other capital murder cases. Those cases are:



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  •   State v. Howard Paul Guidry, Cause No. 1073163, in the 230th District Court of
      Harris County. Mr. Guidry was convicted of capital murder and sentenced to death in
      1997. On the eve of his trial, the State announced that a jailhouse snitch had surfaced
      who claimed that Mr. Guidry had spontaneously confessed his involvement in the
      murder. The snitch had been deliberately placed in the cell adjacent to Mr. Guidry at
      the Harris County Jail shortly after Mr. Guidry’s own arrival. The State’s last-minute
      disclosure of the jailhouse snitch proved to be an intentionally deceptive diversionary
      tactic to distract and tax Mr. Guidry’s trial counsel in the critical weeks immediately
      preceding his trial; he ended up not being called to testify. See Guidry v. Thaler,
      Cause No. 4:12-mc-00441 (S.D. Tex.—Houston) (federal habeas corpus proceeding).

  •   State v. Charles Victor Thompson, Case No. 0782657, in the 262nd District Court of
      Harris County. Thompson was convicted of capital murder and sentenced to death in
      1999. A longtime paid informant for the HCDA testified in Thompson’s punishment
      phase retrial that Thompson had given him a list of witnesses that he wanted killed so
      they would not testify against him. Siegler and Wisner were the prosecutors at the
      retrial. Earlier this year, the Fifth Circuit granted a COA on the issue of whether
      Thompson had established a Brady violation in the State’s non-disclosure of a past
      relationship with the informant, sufficient to overcome procedural default, and if so,
      whether Thompson is entitled to habeas relief on the grounds of the Brady violation
      or a Massiah violation in the introduction of the informant’s testimony during the
      punishment re-trial. See Thompson v. Davis, Cause No. 17-70008, in the United
      States Court of Appeals for the Fifth Circuit, Doc. No. 00514838385.

  •   State v. William Darin Irvan, Cause No. 864928, in the 180th District Court of Harris
      County. Mr. Irvan was convicted of capital murder and sentenced to death in 2003
      for a murder that had occurred in 1987. The only direct evidence of Mr. Irvan’s guilt
      was the testimony of a female federal prison inmate who claimed that Mr. Irvan
      confessed to her before she went to prison. See Irvan v. Thaler, Cause No. 4:12-cv-
      01683 (S.D. Tex.—Houston) (federal habeas proceeding).

  •   State v. Tarus Vandell Sales, Case No. 089316, in the 179th District Court of Harris
      County. Sales was convicted of capital murder and sentenced to death in 2003. Sales
      and the informant were cellmates at the Harris County Jail. The snitch, who was
      ostensibly no more than a fellow inmate, was actually a paid informant for the DEA
      and HPD at the time he elicited incriminating statements from Sales, who had already
      been indicted and was represented by counsel. See Sales v. Stephens, Cause No.
      4:15-cv-00256 (S.D. Tex.—Houston) (federal habeas proceeding).




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           G.      Terrence Gaiser

           Terrence Gaiser was the trial attorney appointed to represent Prible in the capital murder

case on September 28, 2001. See Ev. Hrg. Tr. Vol. 2 at 155. His testimony supports Petitioner’s

Brady claims that a significant amount of favorable evidence, including evidence of the broader

informant conspiracy and the “72 hours” note, was concealed from Prible’s defense counsel.

           Gaiser testified that back in 2001-2002, if a defense attorney wanted to review a file, he

would have to make an appointment to go to the prosecutor’s office. The prosecutor would bring

out the file and put the defense attorney in a separate room, and he would go through the files

himself or with co-counsel. Id. at 156. As far as he knew, it was pretty much an open-file policy

at the HCDA at that time:

           Q (by Ms. Scardino): And would you be able to look at everything that the DA’s
              office had in a given case? Would everything be included in that file?

           A. Well, what was in that file was what they put in the file. You know, I was
              never aware that there may be other things that weren’t in that file.

Id. at 156-57.         The exception to this was attorney work product.        Id. at 157.    So his

understanding, when he went to review a file, was that it would contain everything the HCDA

had except for the prosecutor’s work product.16 Id. at 157. This was his understanding in

Prible’s case as well.         Id. at 157-58.   He did not see any notes taken by Siegler or her

investigators in Prible’s case file. Id. at 158.

           Gaiser testified that back in 2001 and 2002, it was not the HCDA’s general practice to

provide a defense attorney with a witness list before trial. Id. at 158. The defense attorney

would have to look at what subpoenas had been filed in the district clerk’s office to discover who

the witnesses were. Id. Gaiser did not remember ever seeing the State’s subpoena list in Prible’s

case. See id. at 223. As a general rule, a defense attorney would not be allowed to copy
16
     This testimony comports with Wisner’s.

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anything from the HCDA’s file, other than the occasional public record. Id. at 158.17 Instead,

the defense attorney just had to sit in the room and make notes. Id. That was what Gaiser had to

do in Prible’s case when he went to review the file. Id. at 158-59.

         Gaiser filed several pre-trial motions in Prible’s case. Id. at 161-162. One of these was a

Brady motion (Exhibit 109). See Ev. Hrg. Tr. Vol. 2 at 161. In that motion, he asked for the

date, place, and manner of the State’s contacts with Beckcom, including how contact was first

initiated and with whom it was made. Id. at 162. Gaiser testified that he sought this information

because it bore on Beckcom’s credibility. Id. at 162. He wanted to know whether Beckcom had

come forward seeking some sort of remuneration for his testimony. Id. It was also important,

from a credibility standpoint, to learn whether it was Beckcom who reached out to the HCDA or

whether the HCDA sought out Beckcom to groom him as a witness. Id.

         The trial court took up Gaiser’s Brady motion at a pre-trial hearing. Id. at 163. At that

hearing, Siegler told him that she was not required to provide the requested information to him,

that he should just cross-examine Beckcom about it. Id. at 163-64. But Gaiser testified that he

asked for Siegler to provide him this information in open court because he couldn’t possibly

cross-examine Beckcom without it. Id. at 164. Furthermore, Siegler was asking Gaiser to

believe that Beckcom would testify truthfully, something he could not do. Id.

         At the same pre-trial hearing, Siegler eventually relented and said Gaiser could come to

her office and she would tell him how she and Beckcom came into contact and the times that

they’d met, even though she “[didn’t] remember dates” and “didn’t take any notes.” See id. at

164 and Exhibit 70 at 4-5.18 As for what Siegler ended up telling him, Gaiser testified that “I


17
   Wisner testified that generally, defense counsel was not allowed to copy anything from the file “unless it was their
client’s statement or something extraordinary.” Id. at 187. See also testimony of Johnny Bonds, Transcript Vol. 1,
at 135-36.
18
   In fact, she had taken notes of her meetings with Beckcom, and those notes were dated. See Exhibit 20.

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was never led to believe that she had made contact with [Beckcom], but it was always,

[Beckcom] had made contact with her.” Ev. Hrg. Tr. Vol. 2 at 165. Siegler never disclosed to

Gaiser that she had been communicating with Beckcom’s cellmate, Nathan Foreman, since way

back in August 2001, before Prible was even indicted. Id. at 165. Nor did she reveal to Gaiser

that she had determined that Foreman was lying about having heard Prible confess. Id.

       In his Brady motion, Gaiser also asked for a copy of all statements made by Beckcom. In

response, Siegler stated, at the hearing, that they had only one:         the lengthy handwritten

statement dated “12/10/01” (Exhibit 30). See Ev. Hr. Tr. Vol. 2 at 166. She also told the court

that “it’s still our position that any notes that either myself or Johnny Bonds made when we went

to visit Michael Beckcom is work product.” Id. at 167. Gaiser testified that this statement by

Siegler comported with his recollection of reviewing the Prible file – i.e., that no work product

was in the file. Id. Gaiser testified that Siegler never showed him the letter she had received

from Beckcom asking her to meet with him and Anton Davi (Exhibit 95). See Ev. Hrg. Tr. Vol.

2 at 168.

       In his Brady motion, Gaiser also asked for all agreements made between the State and

any witnesses concerning benefits those witnesses would receive in exchange for their testimony.

He did not specifically limit his request to agreements between the State and Beckcom, but also

did not have any reason to believe, at the time he filed the motion, that there were any informants

in the case besides Beckcom. Id. at 169. At the hearing on the Brady motion, Siegler stated that

the parties had agreed to this request, and the trial judge asked her to state on the record what the

agreement was. Id. In response, Siegler explained the agreement that she had with Beckcom,

i.e., that if he testified truthfully, she would write a letter to his federal prosecutor, who would

then decide whether to ask for a reduction; and that it would ultimately be up to his federal judge



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whether to grant him a reduction. Id. at 170. Siegler never mentioned that she had written a

Rule 35 letter for Foreman (Exhibit 44). Gaiser testified that the only thing he had heard about

Foreman was what was contained in Beckcom’s handwritten letter. See Ev. Hrg. Tr. Vol. 2 at

171. Nor did Siegler indicate that she had written a Rule 35 letter for Jesse Moreno (Exhibit

43), nor that she had just recently traveled to Louisiana to testify in a federal court proceeding on

Moreno’s behalf. See Ev. Hrg. Tr. Vol. 2 at 171-72. Gaiser testified that he “was not aware of

the existence of a Jesse Moreno. . . . That’s a new name to me.” Id. at 166, 172, 187. Siegler

mentioned, at the pre-trial hearing, that she had made a Rule 35 recommendation before and

“went to Louisiana and testified,” but neglected to tell the court that the Louisiana hearing had

been for an informant who was involved in Prible’s case. Id. at 172. Gaiser testified that “I had

no reason to believe [the Rule 35 hearing that Siegler mentioned] was in any way connected to

the case we were trying.” Id. at 172-73. Gaiser testified that the pre-trial hearing left him with

the impression that the only agreement the State had made was with Michael Beckcom. Id. at

174-75. But he did not know that Siegler had been communicating with Beckcom’s federal

prosecutor for months before Prible’s trial. Id. at 175. Gaiser understood that Siegler was going

to call the federal prosecutor after Beckcom testified, if he testified truthfully. Id.

       In his Brady motion, Gaiser also requested all evidence indicating that victim Steve

Herrera was involved in drugs and firearms, and all evidence tending to incriminate anyone other

than Prible in the murders. See Exhibit 109; Ev. Hrg. Tr. Vol. 2 at 175-76. Siegler represented

to the trial court that Gaiser had seen all responsive information in the State’s possession. Id.

But Gaiser testified that Siegler never disclosed to him the threatening letter sent to the Herrera

family a few days after the murders (Exhibit 130), in which someone threatened to burn the

family’s houses down. Gaiser said this letter would have been “extremely relevant to whether



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there was another motive for killing – for killing Steve as to whether or not he was dealing drugs

and had money in the house.” Ev. Hrg. Tr. Vol. 2 at 176-77.

       In his Brady motion, Gaiser also asked for all witness statements.          At the pre-trial

hearing, Siegler balked at disclosing oral statements, “[b]ecause oral statements is a lot of people

that end up not saying anything worth our time, and I didn’t take notes on and I don’t plan on

using.” See Exhibit 70 at 16-17; Ev. Hrg. Tr. Vol. 2 at 178. So the court ordered her to turn

over all written witness statements and any oral witness statement that turned out to be Brady

evidence. See Exhibit 70 at 17; Ev. Hrg. Tr. Vol. 2 at 178-79. But Gaiser testified that he was

never shown the letters to Siegler from inmates Oscar Gonzalez (Exhibit 37), Carl Walker

(Exhibit 36), and Mark Martinez (Exhibit 35). See Ev. Hrg. Tr. Vol. 2 at 179-80. Nor was he

ever shown the letter to FCI Beaumont from the HCDA requesting a meeting with Beckcom and

Anton Davi (Exhibit 96), or the November 12, 2001 letter from Alan Percely to Siegler

regarding his client Nathan Foreman (Exhibit 23). See Ev. Hrg. Tr. Vol. 2 at 182.

       At the evidentiary hearing, Gaiser was also questioned about his pre-trial motion for

equal access to all NCIC and JIMS criminal history information (Exhibit 71). Gaiser explained

that he filed this motion because he did not have the ability, as a defense attorney, to generate

NCIC or JIMS reports. See Ev. Hrg. Tr. Vol. 2 at 183. If he had seen an NCIC in a file for a

witness that he had never heard of, he would have wanted to know why it was there. Id. at 183-

84. Gaiser testified that he never saw the NCICs for Nathan Foreman (Exhibit 169) or Rafael

Dominguez (Exhibit 94). See Ev. Hrg. Tr. Vol. 2 at 184-85. Gaiser said he does not even know

who Dominguez is. Id. at 185.

       The trial court convened another discovery hearing on October 11, 2002, right before

Prible’s trial. At this hearing, Gaiser expressed confusion as to the dates that the State met with



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Beckcom and how contact with Beckcom was initiated. Id. at 186. Siegler stated that Beckcom

contacted her by telephone after getting her name from Nathan Foreman. When the trial judge

asked who Nathan Foreman was, Siegler said only that “Nathan Foreman is another inmate at

FCI Medium,” without providing any other context. See Exhibit 72 at 12. Gaiser said he had no

reason to suspect, from this exchange between Siegler and the trial court, that Foreman had come

to Siegler at any previous time and spoken to her about Prible’s case. Id. at 186-87. Gaiser said

Siegler never told him, before trial, that Prible had supposedly confessed to Beckcom and

Foreman; he just remembered reading that in Beckcom’s handwritten letter right before trial. Id.

at 187.

          At the pre-trial hearing, Siegler also stated, in open court, that Beckcom had initiated all

of the phone calls they had had together, “because I can’t call an inmate, obviously.” Id. at 187-

88. Gaiser testified that he took her at her word and had no reason to believe that she could have

called an inmate. Id. at 188. It was important for Gaiser to know who initiated the phone calls

between Siegler and Beckcom so he could figure out “who was cultivating who.” Id.

          Gaiser testified that he did not learn about the alibi witness from the State; the defense

team developed that information on their own. Id. at 188. Gaiser asked, at a pre-trial hearing,

for all information that the State had about the alibi witness, and Siegler stated, in open court,

that law enforcement did not have any notes regarding the alibi witness. Id. at 189-90. Gaiser

testified that Siegler never showed him the work product notes from Prible’s file, dated

December 10, 2001, about the alibi witness. Id. at 190; Exhibit 20 at 7.

          Gaiser testified that Siegler never told him about her meeting with Foreman on August 8,

2001, or about her meetings with Foreman and Beckcom on December 10, 2001. Id. at 190.

Gaiser testified that if he had known that Foreman had met with Siegler and her investigator, and



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that they had considered him too unreliable to use as a witness, it would have “of course” been of

interest to him. Id. at 225. All Gaiser had at the time of trial was Beckcom’s hearsay statement

that Foreman had overheard a conversation in which Prible confessed. Id.

       Gaiser testified that Siegler never told him about Hermilo Herrero or that some of the

same informants in Prible’s case were also helping her on another murder case. Id. at 190-91.

He said Siegler never showed him the November 11, 2001 photograph of Prible and the group of

snitches. Id. at 191-92. And she never disclosed to Gaiser the note in her file indicating that

Pam McInnis, the Fort Bend County serologist, had told her that semen lives up to 72 hours in

the mouth. Id. at 192-93.

                                           III.
              The Evidentiary Hearing Proved That Respondent’s Procedural
                             Default Defenses Are Not Viable

       A.      Petitioner has overcome procedural default by proving cause and prejudice.

       The facts that prove up a Brady violation can also excuse procedural default of a

substantive prosecutorial misconduct claim, whether brought under Brady v. Maryland, 373 U.S.

83 (1963), or United States v. Giglio, 405 U.S. 150 (1972). Suppression and materiality under

Brady or Giglio “parallel” the showing of cause and prejudice under Murray v. Carrier, 477 U.S.

478 (1986), which allows federal courts to reach the merits of otherwise procedurally defaulted

claims. See Strickler v. Green, 527 U.S. 263 (1999); Banks v. Dretke, 540 U.S. 668 (2004).

               1.     Cause under Carrier (suppression under Brady)

       Through the evidentiary hearing, Prible has established that he diligently attempted to

develop the evidence underlying his Brady, Giglio, and Massiah claims in state habeas

proceedings, but was stymied by the prosecution’s suppression of evidence that would have

revealed the existence and extent of the informant conspiracy. He has established, through his



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trial attorney Terrence Gaiser, that a substantial amount of Brady evidence was suppressed even

after the defense specifically requested it in various pre-trial motions and hearings. Harris

County investigator Johnny Bonds and prosecutor Victor Wisner testified that members of the

prosecution team were not even aware of the various other informants and Siegler’s

communications with them. Through the testimony of Carl Walker, Prible demonstrated that

evidence of the larger informant conspiracy, which Walker, as a co-conspirator, had first-hand

knowledge of, was not available to his state habeas counsel despite his diligent attempts to

discover it.   At the evidentiary hearing, Walker provided uncontestable confirmation of

testimony that Prible presented to the state courts, which showed Prible diligently sought to

discover Walker’s identity and whereabouts but mistakenly assumed that a different person,

named Larry Wayne Walker, was the witness with information about the ring of informants that

had set up Prible.

               2.       Prejudice under Carrier (materiality under Brady)

       Prible’s conviction was the result of Michael Beckcom’s testimony and the DNA

evidence found in the victim’s mouth. Prosecutors’ attempts to now downplay the importance

of Beckcom, going as far as to call Beckcom’s testimony immaterial, serves only to cast doubt

on their credibility.   Beckcom’s testimony provided the motive for the murder, a detailed

description of how the murders were allegedly carried out, and a storyline designed to defeat the

testimony of the otherwise solid alibi witness that Prible’s defense attorneys presented at trial.

The DNA evidence was used to convince the jury that Prible engaged in oral sex immediately

before the murder, within minutes or seconds, according to the prosecutor’s closing arguments.

That left Prible as the only conceivable killer.




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                      a.     The State withheld material evidence that Beckcom perjured
                             Prible’s “confession.”

       At the evidentiary hearing, Prible’s witnesses established that the prosecution had

information that Beckcom was part of a conspiracy involving multiple informants who were

intent on providing testimony that the prosecutor realized was incriminating but false. However,

the prosecution suppressed photographs and letters confirming Beckcom’s participation in this

conspiracy, as well as the contacts the State had had with multiple members of this conspiracy.

Further, the State suppressed evidence that a witness – Nathan Foreman, who, according to the

State’s own case, was in a position to corroborate Beckcom’s every statement – had given

patently false accounts of Prible’s supposed “confession” to the prosecutor and HCDA

investigator at two separate interviews. Three important points follow from the State’s

realization about Foreman’s veracity:

       First, prosecutors did not conclude Foreman was fabricating (while Beckcom was being

truthful) from Foreman’s demeanor or poor command of information, or from internally

inconsistent statements that might raise questions about his trustworthiness or ability as a

witness. During her deposition, the prosecutor expressly denied that such misgivings were why

she concluded Foreman was lying about Prible. At the evidentiary hearing, the prosecutor

characterized Foreman as an accomplished and convincing liar. The conclusion that Foreman

was fabricating evidence, therefore, had to have been based on the information that Foreman

provided, not his presentation. According to Bonds, the information Foreman offered in an

August 8, 2001 interview left the impression that Foreman had never met Prible, let alone

obtained incriminating evidence from him. During his deposition, Bonds expressed genuine

surprise that the State would even consider interviewing Foreman again, as happened on

December 10, 2001. Bonds, and so too Siegler, affirmed that Foreman did not become a more

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truthful witness.   The prosecutor contended Foreman fabricated his story every time she

encountered him, including in the Herrero case.

       Second, the State could not withhold the accounts of Prible’s confession, which the

prosecution team concluded Foreman fabricated, on the ground that they were inadmissible

hearsay, unusable at trial. Foreman’s statements would not have been used to prove the truth of

the matter asserted, and the State could not object that they were.          Foreman’s statements

therefore could be used just as readily, and effectively, as if Beckcom himself had provided prior

inconsistent statements that the State had concluded were abject fabrications.

       Third, Prible’s defense counsel could have called Foreman, and Foreman would not have

been able to corroborate Beckcom’s testimony unless he was coached, because, as he testified at

the evidentiary hearing, he did not know Beckcom had composed a lengthy script of Prible’s

confession. Foreman credibly likened Beckcom’s December 10, 2001 handwritten statement to a

television show that Beckcom had produced from his own imagination. Hence, Foreman would

have had no idea how to testify in-step with Beckcom. Furthermore, defense counsel could have

called the prosecutor or her investigator as a defense witness, as the trial judge has discretion to

allow an attorney for a party to testify at trial. See United States v. Bates, 600 F.2d 505, 511 (5th

Cir. 1979) (The decision to allow a party’s attorney to testify “is entrusted to the sound discretion

of the trial judge”); United States v. Crockett, 506 F.2d 759 (5th Cir. 1975), petition for cert.

filed, 43 U.S.L.W. 3540 (U.S. Mar. 31, 1975) (No. 74-1252); Moore v. State, 811 S.W.2d 197,

(1991) (citing Bates, supra). Were the trial court to deny defense counsel the opportunity to

cross-examine the prosecution team about what Foreman told them during the interview, that

would have been an abuse of discretion and a constitutional violation.            See Chambers v.

Mississippi, 410 U.S. 284, 294-95 (1973).



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       It is clearly more likely than not that any reasonable jury, faced with evidence severely

undermining the two pillars of the State’s case, would have reached an outcome other than

conviction. The evidence was suppressed during trial and during state habeas proceedings, and

was discovered only through court-ordered discovery and through in camera review of evidence

that the State was prepared to withhold, as privileged, through federal hearings and beyond.

Hence, as well as cause, prejudice under Carrier, and materiality under Brady, were

unquestionably shown at the evidentiary hearing.

                       b.     The State withheld material evidence that semen can persist in
                              the oral cavity for 72 hours.

       Prible further proved at the evidentiary hearing that the State suppressed evidence which

rendered false and misleading the prosecution’s inflammatory closing argument that forensic

scientific evidence compelled the conclusion that Prible had shot the victim right after oral

copulation. As shown at the evidentiary hearing, a Harris County serologist had informed the

lead prosecutor that spermatozoa can persist in the oral cavity 72 hours after it is deposited, yet

the prosecutor suppressed the evidence and proceeded falsely and misleadingly to represent to

the jury that forensic science proved Prible orally raped the victim moments before she died.

       B.      The Court may reach each of Petitioner’s constitutional claims through
               Schlup’s gateway innocence exception to default.

        The April-May evidentiary hearing in this case also provides a clear path through

“gateway innocence” for this Court to reach all claims asserted in Petitioner’s Fourth Amended

Petition, including those filed outside of the AEDPA’s statute of limitations, as follows.




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              1.      Petitioner’s Schlup and McQuiggin claims

                      a.     Standards

       Actual innocence is not equivalent to legal innocence or insufficiency of the evidence.

See Schlup v. Delo, 513 U.S. 298, 330 (1995). Actual innocence is a different standard and rests

on a different evidentiary basis. Under the Jackson v. Virginia sufficiency standard, the only

evidence that a court may consider is evidence admitted at trial. 443 U.S. 307, 324 (1979). The

Jackson standard requires taking the admitted evidence in a light most favorable to the

government, and assessing whether any rational juror given that evidence, seen in that light,

could have found the defendant guilty beyond a reasonable doubt. Id. Under Schlup, the Court

considers the effect and implications of new evidence, i.e., evidence that was not introduced at

trial. 513 U.S. at 324. The court does not review the evidence in a light most favorable to the

prosecution. See Rivas v Fischer, 687 F.3d 514, 543 (2nd Cir. 2012). Further, the court has full

authority to make credibility determinations about the new evidence, and the discretion to make

redeterminations about the credibility of evidence introduced at trial. House v. Bell, 547 U.S.

518, 538-39 (2006). The court must then determine whether it is more likely than not that some

rational jury, which considered the new evidence of innocence in conjunction with the evidence

at trial, would have found the defendant guilty beyond a reasonable doubt. See Schlup, 513 U.S.

at 327. Equivalently, the inquiry is whether “more likely than not any reasonable juror

would have reasonable doubt.” See House, 547 U.S. at 538 (emphasis added).

       Several points follow. First, actual innocence is determined relative to the evidence at

trial. Second, actual innocence does not require conclusive exoneration. See House, 547 U.S. at

553. New evidence that “thoroughly undermines” the verdict can meet Schlup standards. See

Rivas, 687 F.3d at 543 (citing House, 547 U.S. at 553-54). Third, the actual innocence standard,


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itself, does not strictly limit the type of evidence that a court can consider. Instead, the Supreme

Court clarified in Schlup that the ultimate criterion is reliability, 513 U.S. at 324. And rather

than defining rigid categories of acceptable evidence, the Supreme Court provided guidance as to

the type of evidence that would usually be required to achieve the rare result in which Schlup’s

actual innocence standard is met.

       A credible Schlup claim requires the habeas petitioner asserting actual innocence “to

support his allegations of constitutional error with new reliable evidence, whether it be

exculpatory scientific evidence, trustworthy eyewitness accounts, or critical physical evidence,

that was not presented at trial.” 513 U.S. at 324. However, the reference in Schlup to eyewitness

testimony does not rigidly limit acceptable testimony to persons who witnessed the actual crime.

Otherwise, convictions resting on false jailhouse snitch testimony could not be challenged as

manifestly unjust – even though nothing could be more unjust than a capital conviction imposed

by virtue of testimony perjured in pursuit of favors dangled by the State, whether the perjury is

about a defendant’s alleged admission to a crime or about the commission of the crime itself.

For purposes of Schlup, the issue is whether new evidence reliably undermines the very

foundation of the State’s case.

                       b.     Argument

       The State did not have an eyewitness to the murders of Steve Herrera and Nilda Tirado,

nor an eyewitness to incriminating conduct before or after the murders. Instead, the primary

evidence against Prible came from forensic expert William Watson, whose testimony was not the

subject of the evidentiary hearing, and from jailhouse informant Michael Beckcom, who claimed

to have witnessed, and documented in writing, an extensive and thoroughly incriminating

jailhouse confession by Prible.



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                            i.      No reasonable juror would have believed the State’s
                                    perimortem interval was valid had they heard the
                                    testimony of Dr. Elizabeth Johnson.
        Argument and evidence as to why Dr. Johnson’s expert testimony supports Prible’s

Schlup and McQuiggin arguments is set forth in Prible’s prior pleadings, including the Fourth

Amended Petition and his Reply to Respondent’s Motion for Summary Judgment (Dkts. 181 and

198). While the implications of Dr. Johnson’s forensic report were not the subject of the

evidentiary hearing, deposition testimony admitted at the evidentiary hearing demonstrated the

baseless falsity of a central component of the State’s case, which was that Prible had to have

raped the victim rather than engaged in consensual oral sex. A consensual encounter militated

against a subsequent murder, while rape provided a motive for killing the victim and burning the

body.

                           ii.      Every juror would have had a reasonable doubt as to
                                    Prible’s guilt had he or she heard the testimony of
                                    Foreman and Walker.
        According to the State’s own case, as presented through Beckcom, Foreman was a

witness to the same confessional events that incriminated Prible deeply and inextricably in the

murder of Steve and Nilda Tirado. That Foreman was in a privileged position to see and hear

everything Beckcom claims to have seen and heard is beyond dispute. Foreman was Beckcom’s

cellmate during the critical period when both were contriving together to solicit incriminating

information from Prible. By Beckcom’s own account, Foreman formed the same bonds with

Prible as Beckcom; Foreman was present on every relevant occasion during which Beckcom and

Prible interacted; and Foreman, on those occasions, actively engaged in conversations that

Beckcom was having with Prible. Foreman therefore unquestionably had the vantage point of a

co-conspirator, including personal knowledge of Beckcom’s plans, Beckcom’s interactions with



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Prible, Beckcom’s purpose in having those interactions, and the circumstances under which those

interactions took place.

       Respondent failed to impeach the substance of Foreman’s testimony or his motives.

Foreman had nothing to gain by testifying as he did at the evidentiary hearing, unlike Beckcom.

Finally, Foreman’s testimony that Beckcom’s account of Prible’s confession was entirely

fictitious, far from being impeached, was corroborated by Walker’s testimony.

       According to Beckcom, on November 24, 2001, Prible met him and Foreman on the yard,

took them aside, and gave a lengthy, impassioned confession in which he admitted shooting the

victims, retailed his motive for the murder, and expressed a bitter animosity toward Steve

Herrera.   Foreman denied this dramatic confession took place.        Instead of describing an

impassioned, adamant confessor along the lines of Beckcom’s testimony, Foreman described a

drunken episode in which Prible became too inebriated to walk, but never said a self-

incriminating word.

       Walker confirmed at the evidentiary hearing that November 24, 2001, was the

culmination of a plan, long in the making and in which Beckcom was involved, to ply Prible

with a batch of homemade alcohol in the hopes of obtaining a confession that never came.

Walker was in a position to know this because he was the cellmate of Oscar Gonzalez, the

winemaker, who provided the alcohol given to Prible. Walker also confirms that Prible became

intoxicated, as planned, but never confessed. Although Oscar Gonzalez did not testify at the

hearing, he, too, provided a sworn statement that aligns with Walker’s account, and corroborates

Foreman’s evidentiary hearing testimony. See Exhibit 88. Beckcom, meanwhile, as shown

below, has discredited himself by threats against Petitioner’s habeas counsel and by his

demeanor and testimony during his deposition.



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       Any reasonable juror who credited Foreman’s testimony at the evidentiary hearing that

Beckcom’s account of Prible’s ultimate confession was a concoction worthy of a fictional

television show would have found that the State had not proved Prible guilty beyond a

reasonable doubt. This Court can therefore reach the merits of Prible’s otherwise-defaulted

claims under Schlup.

                              iii.   AEDPA statutes of limitation should be tolled.

       This Court, under McQuiggin, 569 U.S. at 386-87, can reach otherwise defaulted claims

even if they were raised after the statute of limitations. As the Supreme Court has explained, the

Schlup inquiry, if satisfied, tolls limitations, unless Respondent proves “unjustifiable delay” in

the presentation of new evidence of innocence. Id. Even so, such delay is not an absolute

obstacle, but only “a factor bearing on the “reliability of th[e] evidence” purporting to show

actual innocence.” Id.

       There has been no showing either that Prible delayed developing the forensic testimony

of Dr. Elizabeth Johnson, which undermines the perimortem interval that the State insisted was

supported by Watson’s testimony. Nor has there been a showing that Prible delayed developing

the testimonies of Walker, Foreman, or Gonzalez, which refute Beckcom’s rendition of Prible’s

alleged confession.      Consequently, through Schlup’s “gateway innocence” exception to

procedural default, this Court can reach every prosecutorial misconduct (Giglio, Brady, Massiah)

and ineffectiveness of trial counsel claim raised in Prible’s Fourth Amended Petition. No state

court has reached the merits of any of these claims. Hence, federal review of the merits is de

novo. See Pirtle v. Morgan, 313 F.3d 1160, 1167 (9th Cir. 2002); Shea v. Kirkegard, 2013 WL

989813 (D. Mont. 2013) (not reported) (de novo review afforded because of showing of gateway

innocence). Hence, relief must be granted upon a finding, unencumbered by AEDPA deference,



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that Prible has proved the elements of a Giglio, Brady, Massiah or Strickland claim by a

preponderance of the evidence.

                                            IV.
             The Results of the Evidentiary Hearing Justify Relief on the Merits

       A.      Habeas relief should be granted on Prible’s claim that the State suppressed
               evidence that Beckcom worked with a ring of informants to fabricate
               evidence against Prible.

       Respondent has urged this Court to grant summary judgment for three reasons: (1)

because Prible pled a Brady claim in his pro se 11.071 applications, alleging he was set up by a

ring of informants; (2) because Prible could have, but failed, to develop facts in state proceedings

supporting his ring of informants claim; and (3) because the evidence that the informants might

have presented was incriminating, not exculpatory.        But Prible did not have the means to

articulate a cognizable claim because the lead prosecutor had successfully concealed material

evidence from his defense team, as the evidentiary hearing showed.

               1.      Proof of suppression mounted throughout the evidentiary hearing.

       The lead prosecutor not only kept evidence of the ring of informants from Prible’s trial

counsel – her co-counsel, Wisner, and her investigator, Johnny Bonds, were unaware of the ring

of informants also. The first time Wisner saw any of the evidence documenting the existence of

the ring of informants and Beckcom’s participation in it – i.e., the inmate photos, letters, and

other records – was at his deposition in 2017. See Ev. Hrg. Tr. Vol. 1 at 189-196. Likewise, the

first time Bonds had ever seen this evidence was at his 2017 deposition. See Ev. Hrg. Tr. Vol. 1

at 141-42, 145-46, 154-56. Neither Wisner nor Bonds were aware, until they were deposed, that

Foreman was ever Beckcom’s cellmate, nor was either one privy to information about the

Herrero case. Neither of the two knew of Siegler’s contacts and communications with other FCI

Beaumont inmates who Siegler realized were angling to testify against Prible in return for her

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efforts to obtain a sentence reduction.    Wisner did not know that Siegler and Bonds had

interviewed Foreman, nor what the results of those interviews were. In fact, Wisner did not

know who Foreman was until informed during his deposition in this case.

         Prible’s lead trial counsel, Terrence Gaiser, credibly testified that he learned of the

existence of the informant ring, and the identity of its members, when presented with the

evidence by federal habeas counsel. According to Gaiser, the State had an open-file policy at the

time of trial, and he reviewed the file. But none of the evidence that Prible has since marshalled

to support his prosecutorial misconduct claims – photos, correspondence, phone records, etc. –

were contained therein. Gaiser credibly denied that he ever saw Siegler’s or Bonds’ interview

notes.     The defense team had no knowledge whatsoever of Siegler’s contacts and

communications with other FCI Beaumont informants.

         By contrast, the lead prosecutor’s testimony that the information underlying Prible’s

Brady claims – including her handwritten notes – was available to trial counsel is so incredible

that it calls into serious question anything else the lead prosecutor said. At trial she announced

she was withholding the exact type of information she now says was disclosed. Her co-counsel

and lead investigator testified that they were not privy to the information upon which Prible’s

Brady claims rest. Bonds testified that Siegler “didn’t give up anything she didn’t have to give

up.” Ev. Hrg. Tr. Vol. 1 at 151. Wisner testified that prosecutor notes and other work product

were routinely withheld from the “open file.” Ev. Hrg. Tr. Vol. 1 at 186. And the HCDA

continued to withhold notes of Foreman’s and Beckcom’s interviews, other handwritten notes,

and other work product until this Court ordered in camera review late in these proceedings.




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               2.      The materiality of the suppressed evidence became abundantly clear
                       at the evidentiary hearing.
       Respondent’s primary argument – that the evidence of an informant’s ring is immaterial

because it is merely cumulative impeachment evidence – is untenable. Trial counsel impeached

Beckcom with his criminal past, his service as a snitch in other cases, and his reputation in the

federal system for untruthfulness. However, trial counsel did not have information to impeach

and falsify Beckcom’s testimony at Prible’s trial because the State suppressed it.

                       a.     Supression of Foreman’s August 8, 2001, and December 10,
                              2001, statements was material.

       Throughout his testimony, Beckcom presented Foreman as a witness who could

corroborate every statement that Beckcom made about Prible’s confession. Beckcom testified at

trial, and repeated during his deposition, that Foreman was present at all relevant times when

Beckcom interacted and communicated with Prible. According to Beckcom, Foreman helped

carry out Beckcom’s plan to provide the prosecutor with evidence, including taking photographs

with their and Prible’s respective families, which Beckcom gave to Siegler to use as evidence of

his and Foreman’s camaraderie with Prible.

       Undisclosed prosecutor notes show, however, that the lead prosecutor and her

investigator interviewed Foreman twice, and determined on both occasions that Foreman’s story

of the circumstances and substance of Prible’s “confession” was a fabrication. According to

Bonds, Beckcom gave a detailed account, whereas Foreman, who was privy to the same

information according to Beckcom, gave nebulous accounts. The information the prosecution

team received from Foreman was so bad, in fact, that the investigator wrote “B.S.” in his

interview notes. See Exhibit 20. However, the State did not immediately disclose Foreman’s

inconsistent, incredible statements.



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       As argued in the section on prejudice for purposes of Schlup, trial counsel could have

nullified Beckcom’s testimony if the prosecutors had timely disclosed what they heard from

Foreman. No jury would believe a witness if the person the witness portrayed as a corroborating

source of information not only got the story wrong, but was fabricating evidence. The obvious

conclusion that any rational juror would reach, in a situation where two witnesses vouch that the

other heard and saw the same events, would be that their accounts diverge badly because both

witnesses were making up different stories rather than telling a single truth.

                       b.      Beckcom’s involvement with the ring of informants is material.

       Respondent has long maintained that Beckcom and the other informants who were in

contact with Siegler were simply opportunists, who, like many others in federal prison, were

independently looking for ways to reduce their sentences. Respondent maintains that there was

no conspiracy to fabricate evidence of which the prosecutor was aware or had to disclose. After

the evidentiary hearing, this defense of the prosecutor’s conduct can no longer be sustained.

       Beckcom’s statement was all about how he and Foreman engaged and befriended Prible

and ultimately induced Prible to confess to the murders on November 24, 2001. The fact that

Foreman fabricated a confession story means one thing only, and that is that Foreman did not

see, hear, or say what Beckcom testified he did. The inescapable conclusion is that Beckcom

also fabricated Prible’s confession. Beckcom therefore does not stand apart from the other

informants.

       The State was aware, because of photographic evidence and letters to the prosecutor

referring to Beckcom, that Beckcom was associated with other informants who were all angling

to testify against Prible. Because Foreman’s fabrications compel the conclusion that Beckcom

too was fabricating evidence, the State could not withhold information of the ring on the ground

that their false accounts of Prible’s confession were merely attempts to exploit Beckcom’s true
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information. Instead, the implication is that Beckcom was participating in the informants’ efforts

to secure State favors in exchange for perjured testimony. Were a jury presented with evidence

that Beckcom’s story was fabricated and that Beckcom was in league with a ring of informants

who were fabricating evidence against Prible, they would have disregarded his testimony

entirely.


        B.     In light of the evidentiary hearing, relief is necessary on Prible’s claim that
               the prosecutor failed to disclose the nature and extent of the deals made for
               Beckcom’s testimony and sponsored false and misleading testimony about
               them.

        Due process is violated when a prosecutor fails to disclose evidence that a key witness

has received a deal for his testimony. See Giglio v. United States, 405 U.S. 150, 154 (1972).

“Brady requires disclosure of tacit agreements between the prosecutor and a witness. A deal is a

deal—explicit or tacit.” Douglas v. Workman, 560 F.3d 1156, 1186 (10th Cir. 2009). “Brady

evidence is not limited to actual ‘deals’ or ‘agreements’ between witnesses and the government.”

Harshman v. Superintendent, State Corr. Inst. at Rockview, ––– F. Supp. 3d ––––, No. 17-116,

2019 WL 1354048, at *10 (M.D. Pa. Mar. 26, 2019).

        At trial, Siegler solicited the following testimony from Beckcom about the deal she had

arranged with him:

        We have an understanding that if I testify truthfully to this Court that you will
        reciprocate by calling my Federal prosecutor. At that point it's out of your hands,
        but just to let him know what I’ve done.

26 RR 14.

        This was false, but Siegler failed to correct it. In the first place, the deal was not initially

struck for Beckcom’s testimony.        In early October 2001, the prosecutor struck a deal for

Beckcom to solicit information from Prible in return for her efforts to see that he received a



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sentence reduction. 26 RR 22. Furthermore, Siegler’s efforts to ensure that Beckcom received a

sentence reduction began early on. As Siegler admitted at her deposition, she began lobbying

Beckcom’s federal prosecutor months before Prible’s trial regarding a Rule 35 reduction. Ev.

Hrg. Tr. Vol. 2 at 116-118. Because of these efforts and Siegler’s express representations to

him, Beckcom believed that Siegler’s influence would result in a reduction of his entire

remaining sentence so that he “was going to get walked out” of prison:

       A (by Beckcom): Well, when this whole thing got started and I – I set myself in
          motion to testify in state court, she said she was going to call my prosecutor in
          California. She said, “This probably will get you out of prison.”
       Q (by Ms. Scardino): She said – she said that to you, This will get you out of
       prison?
       A. Yeah. So I think she bullshitted me at that point because once it was said and
          done, as I’m getting off the stand, they go in the back, and she’s got this grim
          look on her face, and I’m like what now? ‘Well, they’re only going to give
          you 12 months.’ So at that point I felt like – I knew she had lied to me in the
          beginning that I was going to get walked out, you know, for my testimony.
       Q. Did she lead you to believe that you would be getting out of prison?
       A. Yeah.
       ...
       Q. Did you ever ask [Siegler] for any sort of assurance, before you went up and
          testified and put yourself at risk, that it would be worthwhile?
       A. I’m sure I probably did, but I don’t remember how that conversation would
          have ended because I never got anything.
       Q. Well, you ended – you got a year off.
       A. Yeah.
       Q. Is that right?
       A. Yeah.
       Q. But you thought you would be walking out the door after?
       A. For a house full of bodies? Yeah. Children? Sure.



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Ev. Hrg. Tr. Vol. 1 at 214, 229. Beckcom said Siegler assured him that the feds “were going to

play ball. I’ve talked to them, and they’re in, something to that effect.” Id. at 230-31.

        In her closing argument, Siegler told the jury that Beckcom’s fate was in the hands of his

federal judge. This left the impression that her role had come to an end. However, Siegler

continued to lobby Beckcom’s federal prosecutor after Prible’s trial. Siegler also knew that she

could ask to testify on Beckcom’s behalf or be summoned for that purpose, and that her

testimony could have substantial effect, including walking Beckcom out of prison. Only months

before Prible’s trial began, she had travelled to Louisiana to testify at Jesse Moreno’s Rule 35

hearing.   Siegler knew, because the district court announced it at the hearing, that her

intervention had resulted in a 77-month reduction of the remaining 78 months that Moreno had

to serve. See Exhibit 49. Siegler therefore misled the jury about the Rule 35 reduction process,

and her continued involvement and her potential influence, just as she had the Hermilo Herrero

jury.

        Finally, Siegler’s minimization of her role concealed the fact that she had taken steps to

arrange for Beckcom to provide jailhouse snitch testimony in another case. While waiting to

testify in Prible’s trial, Beckcom proposed a way to ensure he received a Rule 35 reduction.

Beckcom wrote Siegler that he and another inmate, Anton Davi, had information about a crime,

and proposed that she help him convince federal prosecutors to make a deal for his testimony

against the alleged perpetrator. See Exhibit 95. Siegler set up a meeting and made the trip to

Beaumont Medium to meet with Beckcom, see Exhibit 96, but she did not disclose her efforts to

assist Beckcom to Prible’s trial attorneys.




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           For reasons stated in the Fourth Amended Petition, it is reasonably probable that the

prosecution’s failure to disclose the nature and extent of the deals with Beckcom would have had

a substantial effect on the outcome of Prible’s trial. Relief is therefore warranted.

           C.      Relief on Prible’s Massiah claim should be granted.

           A Massiah violation has three elements: (1) the Sixth Amendment right to counsel has

attached; (2) the individual seeking information from the defendant is a government agent acting

without the defendant’s counsel being present; and (3) that agent “deliberately elicit[s]”

incriminating statements from the defendant. Massiah v. U.S., 377 U.S. 201, 206 (1964); Creel

v. Johnson, 162 F.3d 385, 393 (5th Cir. 1998), cert. denied, 526 U.S. 1148 (1999). The first

element is undisputed, as Prible was indicted in August 2001 and appointed counsel on

September 28, 2001. And Beckcom’s trial and deposition testimony convincingly prove up the

other two elements.

                    1.      Beckcom operated as a State agent, and solely for the sake of State
                            favors.
           At his deposition, Beckcom confirmed that he heard about Siegler’s connection to

Prible’s case from Foreman.19 Ev. Hrg. Tr. Vol. 1 at 215-16. Beckcom testified that he got

Siegler’s phone number from Foreman and called her. He acknowledged that the first telephone

call to her was not to provide her with information about the case, because he did not have much

information to give her; rather, the purpose of that first phone call was to arrange a deal with her

for his testimony. Id. at 235-36, 238. He admitted that he had no other reason to develop

evidence against Prible other than the fact that he might be given a Rule 35. Id. at 236. He

stated that that was his sole motivation for providing testimony for Siegler.                    Id. at 237.




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     At various times during his testimony, Beckcom referred to Foreman by his nickname, “Bo.”

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Beckcom admitted that Siegler made clear, during their initial phone conversation, that he was

supposed to get specifics about the case. Id. at 238.

       Beckcom, admitted that the deal he arranged involved securing the prosecutor’s

assistance in obtaining a Rule 35 sentence reduction. Although Beckcom was not entirely

committal when directly asked, his testimony about his understanding of the benefit he stood to

gain when the prosecutor used her influence shows that a sentence reduction was the inducement

that moved Beckcom to solicit information from Prible about his case. Beckcom testified that

“when this whole thing got started and I – I set myself in motion to testify in state court, she said

she was going to call my prosecutor in California. She said, ‘This probably will get you out of

prison.’” Ev. Hrg. Tr. Vol. 1 at 214.

               2.      Beckcom deliberately elicited information from Prible.

       Beckcom was not a passive or fortuitous recipient of information from Prible. Evidence

at the evidentiary hearing demonstrated that Beckcom’s every interaction with Prible was

designed to elicit information about Prible’s case. Beckcom conceded that he befriended Prible

in order to elicit information from him, as follows:

       Q. It wasn’t as if you befriended [Prible], and then it came out later that he was
          charged with this? This was [] intentional on your part, introducing yourself
          to him and trying to elicit information from him, right?

       A. I’m sure it probably played out that way.

Id. at 222-23. Beckcom further admitted that other conversations, such as discussions about

Prible’s asphalt business, were a “pretense” to induce Prible to pass on self-incriminating

information. Id. at 249-50. Testimony from Walker and Foreman at the evidentiary hearing

show that Beckcom went beyond active questioning and pretenses in order to induce Prible to




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talk about his case; he was also part of a plot to ply Prible with alcohol in order to procure self-

incriminating information.

                3.     The Massiah violation was extraordinarly harmful.

        With the elements of Massiah thoroughly satisfied, Prible had a due process and Sixth

Amendment right to exclude Beckcom’s testimony entirely. The prejudicial effect of Beckcom’s

testimony cannot be gainsaid. The prosecutor admitted that without Beckcom, the State risked

acquittal.    See Section F(2)(b), supra.    Beckcom provided far more than the prosecutor’s

depreciated assessment of his testimony’s impact. Beckcom’s testimony incriminated Prible to

the point of being inflammatory. Beckcom supplied motive and animus, and impressed on the

jury a callous disregard by Prible for the lives of the five murder victims that Beckcom claimed

he extinguished – among them three young girls. Beckcom’s testimony unquestionably had a

substantially injurious effect, enough to cause any reasonable jurist to have “grave doubts about

whether the error was harmless.” See O’Neil v. McAninch, 513 U.S. 432 (1995). Relief should

therefore be granted on Prible’s Massiah claims.

                                     PRAYER FOR RELIEF

        WHEREFORE, Petitioner Ronald Jeffrey Prible, Jr. requests that this Court:

        (1)      issue a writ of habeas corpus to have him brought before it, to the end that he

may be discharged from his unconstitutional confinement and restraint and/or relieved of his

unconstitutional sentence of death, and

        (2)     grant such other relief as law and justice require.




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                                             Respectfully submitted,

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                                             ATTORNEYS FOR PETITIONER




                         CERTIFICATE OF SERVICE

  On June 24, 2019, a copy of the foregoing was served upon Respondent by email.

                                             /s/ Gretchen N. Scardino
                                             Gretchen N. Scardino




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                    APPENDIX
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                                 UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

RONALD JEFFREY PRIBLE,                                   §
                                                         §       PETITIONER’S EXHIBIT LIST
          Petitioner,                                    §
                                                         §
V.                                                       §       4:09-cv-01896
                                                         §
LORI DAVIS, DIRECTOR,                                    §
TEXAS DEPARTMENT OF CRIMINAL                             §
JUSTICE, INSTITUTIONAL DIVISION,                         §
                                                         §
          Respondent.                                    §

                                EXHIBIT CROSS-REFERENCE CHART

          At the evidentiary hearing held on April 29, 30, and May 2, 2019, several witnesses were

presented via videotaped deposition testimony. The exhibits that the witnesses were questioned

about at their depositions appear on Petitioner’s Exhibit List attached as Exhibit A to the Joint

Pre-Trial Order (Dkt. 222), but they were numbered differently at the depositions. The following

chart provides a key to the numbering of the exhibits as they appear in the evidentiary hearing

transcript.


Ev. Hrg.        Petitioner’s Description
Transcript      Exhibit List
Ex. No.         No.
Video Deposition of Johnny Bonds – Transcript of April 29, 2019
     52                  6        April 4, 2001 handwritten letter from Jesse Moreno to Kelly Siegler
     53                 10        April 10, 2001 handwritten letter from Celia Moreno to Kelly Siegler
     55                 26        August 29, 2001 Indictment against Hermilo Herrero
     88                 169       NCIC for Nathan Foreman, printed by Johnny Bonds on August 7,
                                  2001 (Redacted - Filed Under Seal)
     112                37        May 22, 2002 letter from Jesse (“Oscar”) and Felix Gonzalez to
                                  Kelly Siegler
     113                36        Undated letter from Carl Walker to Kelly Siegler

PETITIONER’S EXHIBIT CROSS-REFERENCE CHART: VIDEO DEPOSITION TESTIMONY TO
PETITIONER’S EXHIBIT LIST                                                                                1
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Ev. Hrg.     Petitioner’s Description
Transcript   Exhibit List
Ex. No.      No.
   114           35        April 30, 2002 letter from Mark Martinez to Kelly Siegler plus
                           telephone memo from Mark Martinez to Kelly Siegler dated 3/7/[02]?
   163           32        Informant photos with Jeff Prible
    77           27        November 20, 2001 Fax from Johnny Bonds to Lt. Robert Clark at
                           FCI Medium requesting Foreman visit
  109-7          30        December 10, 2001 handwritten statement by Michael Beckcom
    78           28        November 26, 2001 Fax from Bonds to Lt. Clark requesting Michael
                           Beckcom visit right after Nathan Foreman
   174           30        December 10, 2001 handwritten statement by Michael Beckcom
  109-6      20 (page 6)   Tab 65 Work Product, produced by HCDA on May 12, 2017
   112           37        May 22, 2002 letter from Jesse (“Oscar”) and Felix Gonzalez to
                           Kelly Siegler
   113           36        Undated letter from Carl Walker to Kelly Siegler
   114           35        April 30, 2002 letter from Mark Martinez to Kelly Siegler plus
                           telephone memo from Mark Martinez to Kelly Siegler dated 3/7/[02]?
   180           38        Typed letter from Michael Beckcom found in his Texas v. Beckcom
                           case file
Video Deposition of Vic Wisner – Transcript of April 29, 2019
   112           37        May 22, 2002 letter from Jesse (“Oscar”) and Felix Gonzalez to
                           Kelly Siegler
   113           36        Undated letter from Carl Walker to Kelly Siegler
   114           35        April 30, 2002 letter from Mark Martinez to Kelly Siegler plus
                           telephone memo from Mark Martinez to Kelly Siegler dated 3/7/[02]?
    52            6        April 4, 2001 handwritten letter from Jesse Moreno to Kelly Siegler
    53           10        April 10, 2001 handwritten letter from Celia Moreno to Kelly Siegler
Video Deposition of Michael Beckcom – Transcript of April 29, 2019
    4            56        Trufone records and phone list – Michael Beckcom (Filed Under
                           Seal)
    8B           32        Informant photos with Jeff Prible
    22           96        May 1, 2002 letter from HCDA to Lt. Clark requesting visit between
                           Kelly Siegler/Johnny Bonds and Michael Beckcom/Anton Davi
    34           95        Undated letter from Michael Beckcom to Kelly Siegler regarding
                           Anton Davi


PETITIONER’S EXHIBIT CROSS-REFERENCE CHART: VIDEO DEPOSITION TESTIMONY TO
PETITIONER’S EXHIBIT LIST                                                                         2
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Ev. Hrg.     Petitioner’s Description
Transcript   Exhibit List
Ex. No.      No.
    18            37       May 22, 2002 letter from Jesse (“Oscar”) and Felix Gonzalez to
                           Kelly Siegler
    30           126       October 30, 2002 handwritten thankyou note from Michael Beckcom
                           to Kelly Siegler
    10            30       December 10, 2001 handwritten statement by Michael Beckcom
   28F           154       April 15, 2001 Houston Chronicle article, “Survivors Await Break in
                           Family’s 1999 Killing”
Video Deposition of Kelly Siegler – Transcript of April 30, 2019
   154           129       Excerpts from 2001 HCDA Operations Manual
    46            3        March 1, 2001 Fax from William Watson to Johnny Bonds enclosing
                           lab report dated June 4, 1999
    52            6        April 4, 2001 handwritten letter from Jesse Moreno to Kelly Siegler
    70            64       Trial Transcript, Vol. 4, Herrero v. State, Cause No. 903122, in the
                           179th District Court of Harris County, Texas (excerpts)
    53            10       April 10, 2001 handwritten letter from Celia Moreno to Kelly Siegler
    54            11       Transcript and audio of July 3, 2001 Kelly Siegler/Jesse Moreno
                           interview
    55            12       July 5, 2001 HCSO supplemental report discussing Kelly Siegler’s
                           July 3, 2001 meeting with Jesse Moreno
    57            14       July 5, 2001 Prible Information and Indictment paperwork
    56            15       July 5, 2001 Probable Cause Affidavits by Curtis Brown
    88           169       NCIC for Nathan Foreman, printed by Johnny Bonds on August 7,
                           2001 (Redacted - Filed Under Seal)
   108            19       Tab 9 Work Product, produced by HCDA on May 12, 2017
    60            25       August 29, 2001 Indictment against Jeff Prible
    71            42       May 1, 2002 letter from Kelly Siegler to Michael Greene at FCI Bmt,
                           asking that Jesse Moreno, Rafael Dominguez, Nathan Foreman, and
                           Eddie Gomez be separated from Hermilo Herrero
    72            43       May 1, 2002 letter from Kelly Siegler to AUSA Todd Clemons
                           regarding Jesse Moreno’s cooperation in Hermilo Herrero case
    73            44       May 1, 2002 letter from Kelly Siegler to AUSA Tracy Batson
                           regarding Foreman’s cooperation in Hermilo Herrero case
   125            41       Undated handwritten letter from Jesse Moreno to Kelly Siegler telling
                           her what to say to AUSA Todd Clemons

PETITIONER’S EXHIBIT CROSS-REFERENCE CHART: VIDEO DEPOSITION TESTIMONY TO
PETITIONER’S EXHIBIT LIST                                                                         3
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Ev. Hrg.     Petitioner’s Description
Transcript   Exhibit List
Ex. No.      No.
   123           48       Fact Witness Voucher for Kelly Siegler in U.S. v. Jesse Moreno, Case
                          No. 96-20037-005, in the U.S. District Court for the Western District
                          of Louisiana, Lafayette Division, dated August 22, 2002
   112           37       May 22, 2002 letter from Jesse (“Oscar”) and Felix Gonzalez to
                          Kelly Siegler
   113           36       Undated letter from Carl Walker to Kelly Siegler
   114           35       April 30, 2002 letter from Mark Martinez to Kelly Siegler plus
                          telephone memo from Mark Martinez to Kelly Siegler dated 3/7/[02]?
   176          125       March 22, 2016 Affidavit of Kelly Siegler in Hermilo Herrero writ
                          case, Ex Parte Herrero, Cause No. 903122-C, in the 179th District
                          Court of Harris County, Texas
    87          142       NCIC for Jonathan Jefferson, printed by Johnny Bonds on December
                          6, 2001 (Redacted)
    86          103       JIMS and NCIC for James Martin, printed by P. Klim on April 30,
                          1999 (Redacted - Filed Under Seal)
   106          166       Kelly Siegler’s notes on criminal history report of James Martin
                          (Redacted)
    43          165       Statement of Jamie Lyons (Redacted)
   162          168       Informant agreement between HCDA and Vincent Flores dated July
                          23, 1996
   170           56       Trufone records and phone list – Michael Beckcom (Filed Under
                          Seal)
   171           21       Trufone Records and phone lists – Nathan Foreman (Filed Under
                          Seal)
   152           22       Telephone memos to Kelly Siegler from informants, Jesse Moreno,
                          and Alan Percely
   111           23       November 12, 2001 Letter from Alan Percely to Kelly Siegler
                          regarding Nathan Foreman
    77           27       November 20, 2001 Fax from Johnny Bonds to Lt. Robert Clark at
                          FCI Medium requesting Foreman visit
    78           28       November 26, 2001 Fax from Bonds to Lt. Clark requesting Michael
                          Beckcom visit right after Nathan Foreman
  109-7          30       December 10, 2001 handwritten statement by Michael Beckcom
   181           33       March 4, 2002 letter from AUSA Mark Cullers to Kelly Siegler
   126           34       March 5, 2002 letter from AUSA Mark Cullers to Kelly Siegler

PETITIONER’S EXHIBIT CROSS-REFERENCE CHART: VIDEO DEPOSITION TESTIMONY TO
PETITIONER’S EXHIBIT LIST                                                                    4
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Ev. Hrg.     Petitioner’s Description
Transcript   Exhibit List
Ex. No.      No.
                          enclosing Texas Rangers report on Nick Brueggen murder
   127           95        Undated letter from Michael Beckcom to Kelly Siegler regarding
                           Anton Davi
    81           96        May 1, 2002 letter from HCDA to Lt. Clark requesting visit between
                           Kelly Siegler/Johnny Bonds and Michael Beckcom/Anton Davi
   129           97        October 29, 2002 Letter from Kelly Siegler to AUSA Mark Cullers
                           regarding Michael Beckcom’s cooperation
   130           30        October 30, 2002 handwritten thankyou note from Michael Beckcom
                           to Kelly Siegler
   131           98        November 4, 2002 letter from AUSA Mark Cullers to Kelly Siegler
                           saying they could not confer a benefit on Michael Beckcom
   133           127       Transcript of voicemail left by AUSA Mark Cullers to Kelly Siegler
                           on November 12, 2002
   135           102       November 15, 2002 fax from Kelly Siegler to Mark Cullers enclosing
                           email with Michael Beckcom’s attorney contact information
   170           56        Trufone records and phone list – Michael Beckcom (Filed Under
                           Seal)
   137           157       Michael Beckcom’s Application for Parole (Redacted)
   186           156       Michael Beckcom’s Pre-Sentence Investigative Report
   116           109       Motion and Request for Production of Evidence Favorable to the
                           Accused, filed in State v. Prible, Cause No. 921126, in the 351st
                           District Court of Harris County, Texas, with Kelly Siegler’s
                           handwritten notes
   145           112       Texas v. Bible documents (Indictment dated 3/29/01; Harris County
                           District Clerk’s summary of case; Harris County District Clerk’s
                           Parties List, identifying “Michael Beckmon” as a “Previous Bench
                           Warrant for the Prosecution”)
   154           129       Excerpts from 2001 HCDA Operations Manual
   110           167       HCDA Privilege log in Prible v. Davis, dated September 21, 2016
   195           16        Siegler’s Opening Statement in Texas v. Prible




PETITIONER’S EXHIBIT CROSS-REFERENCE CHART: VIDEO DEPOSITION TESTIMONY TO
PETITIONER’S EXHIBIT LIST                                                                    5
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Dated: June 24, 2019                            Respectfully Submitted,
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                             CERTIFICATE OF SERVICE

      On June 24, 2019, a copy of the foregoing was served upon Respondent by email.

                                                /s/ Gretchen N. Scardino
                                                Gretchen N. Scardino




PETITIONER’S EXHIBIT CROSS-REFERENCE CHART: VIDEO DEPOSITION TESTIMONY TO
PETITIONER’S EXHIBIT LIST                                                              6
